Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 1 of 67

EXHIBIT L

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Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 2 of 67

Preliminary Expert Report from

Gale Bataille, MSW —

Case 2:90-cv-00520-KJM-SCR | Document 3232-3 Filed 10/30/08 . Page 3 of 67

Expert Opinion of Gale Bataille, M.S.W. Regarding the Probable Impact of a Coleman Class Prison
Release Order Submitted on August 15, 2008

(I) Statement of all opinions the witness will express and the basis and reasons for
them

As an expert witness, my opinion will address the probable impact on California's county-based community
mental health system and the seriously mentally ill individuals it serves if the California Department of
Corrections and Rehabilitation (CDCR) is court ordered to implement a correctional facility population
reduction through a prisoner release order.

Based upon. my background as a County Mental Health Director in California for over 17 years including
active statewide leadership in the development of community mental health policy, financing-and program
design since 1975, itis my expert opinion that adequate plans and services are not in place—nor can these
_ Plans and services be put in place without a funding increase and adequate program planning and
implementation lead time, to respond to a release of even 15,000 offenders including all classes of mentally
il (Coleman class) prisoners. In fact-even if counties were given up to a year for mental health program
planning and implementation, it will not be possible to adequately staff needed augmented program
services because of the current professional mental health workforce shortage in California—and
nationally. In addition, the imposition of a population cap on state prisons (whether through a court order
ora legal settlement agreement) will have an immediate and significant impact on county law enforcement,
jails, probation departments and the local health, human services and.mental health services as these
agencies will be required to serve offenders who would previously been sent to state prisons, in the
community or in jails and local institutional settings. The concerns and objections expressed by the
California State Association of Counties (CSAC) in its Corrections Policy: Principles and Guidelines
(adopted as revised 5/22/08) and the California Mental Health Directors Association (CMHDA) as well as
CSAC in separate policy responses to the Legislative Analyst Offices 2008-09 budget proposal for “parole
realignment” are equally germane to the likely adverse consequences of a prisoner release plan.

An accelerated release of prisoners who meet Coleman class criteria can be anticipated to have adverse—
and potentially serious consequences for the released prisoners; community mental health systems and the
(non-offender status) mentally ill children, adults and older adults they serve; a potentially negative impact
on community safety if adequate supervision, treatment services and programs are not in place at the tine
of the prisoner release; and potentially long-term negative consequences to the development of public
mental health services in the future.

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 4 of 67

| will provide testimony that addresses how the above issues could reasonably be expected to be affected

by release criteria and proposals described in Coleman Plaintiff's April 17, 2008 Supplemental Responses
to Defendant Amold Schwarzeqger's First Set of Interrogatories.

| will address the following specific issues that inform and constitute the basis for my expert opinion as
follows:

1. Population definition/characteristics and implications for community based care service needs;

2. Mental health service requirements and capacity of COCR Parole Outpatient Clinics and public
mental health departments to meet service requirements--including outpatient as community
_ support services as well access to psychiatric treatment in institutional/secure settings;

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3. Effectiveness of currently available outpatient mental health services to mentally ill offenders—
the need for new and evidence-based approaches; N

4. Potential adverse impact of Coleman population release on public safety, the future
growth/development of community mental health systems, and community acceptance of
individuals with mental illness.

1. Population definition/characteristics and implications for care—What is a reasonable
estimate of the increased population of mentally ill prisoners that would be released to community parole
status? What are the characteristics/needs of this population?

(a) Estimate of population likely to be released

On the basis of Special Master Keating’s Special Master's Response to the Court's May 17,2007 Request
for Information it is reasonable to assume that “the percentage of the caseload census in the overall

population is a predictable 19-20 percent. (pg. 14) Therefore, if 15,000 prisoners are released on parole
status, 19-20 percent of prisoners-or up to 3000 of these newly released parolees will have serious mental
illness as assessed by CDCR. The various proposals for prisoner release focus on the release of “low risk” -
offenders but it should be assumed that a substantial portion of these individuals who have received
psychiatric treatment while incarcerated have a significant risk of exacerbation of their psychiatric
symptoms when released to community settings. In-addition, Plaintiff's April 17,2008-supplemental
response to Interrogatory No. 4 states subject to a number of objections that prisoner release order would
need reduce the prison population in all of the different categories of Coleman class including 3-CMS, EOP
and inpatient level of care to achieve constitutionally adequate mental health care in the state prison

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Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 5 of 67

system.

(b) Anticipated characteristics of population likely to be released

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There is little discussion in any of these proposals of how mentally ill offender psychiatric symptoms,
characteristics and needs are likely to appear different in the community in contrast to the contained
environment of prison facilities and to what extent members of the mentally ill released parolee population
might be at greater risk for recidivism—especially if they do not access and receive prompt and adequate
services. Of greatest concern is the lack of specific acknowledgement and planning for 4 population that
has co-occurring psychiatric and substance abuse disorders. Approximately 50% of individuals who are
served in the community based mental health system have co-occurring substance abuse/use disorders—
with a higher prevalence (75-80%) reported among homeless, psychiatric emergency, hospitalized and
incarcerated populations. There is a higher prevalence of substance abuse disorders in the population of
mentally ill prisoners. Co-occurting mental health and substance use disorders are the assumption-not the
exception among individuals who have contact with the criminal. justice system. Client assessments (and
services) must focus on integrated models of care. Of the 19-20 percent of prisoners who have diagnosed
psychiatric disorders, 80-90 percent can be projected to have a history of co-occurring substance abuse.
There is a significant and growing body of research and practice literature and public mental health system
experience that finds that integrated mental health/substance abuse treatment must be provided to address
the needs (and likelihood of relapse) of individuals with serious mental illness with co-occurring substance
use disorders. -

(c) Eligibility of released inmates as “target population” for county/public mental health services

It should not be assumed that all inmates assessed by CDCR staff to meet criteria for serious mental illness
in the prison setting will meet public. mental health services eligibility criteria (including Federal Medicaid)

as seriously mentally ill witha functional impairment that qualifies them for Medicaid or mental health
indigent care services. It is not uncommon for correctional systems to include within the classification of
mentally ill prisoners individuals with developmental disabilities and/or cognitive disorders that are not the
result of mental illness, and are not within the target/treatment responsibility of the public mental health
system. It is the experience of County Mental Health systems that it is particularly difficult (if not sometimes
impossible) to access community based or institutional/inpatient services for individuals with developmental
disabilities and traumatic brain injuries/cognitive disorders.

Potentially divergent assumptions about the criteria used to define mentally ill target populations can lead to
faulty program design and even conflict among well-intended partners in criminal justice reform. This may

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 6 of 67

lead to unrealistic expectations that public mental health systems have the resource capacity and can
effectively and safely treat a population with developmental disabilities, cognitive disorders, character
disorders and high “criminogenic" risks. To the extent that a prisoner release plan-anticipates access to

cqunties’ public mental health services, the following issues related to the target population to be treated
must be considered. (This opinion will address separately the extent to which resource capacity exists or _
can be brought on-line in a timely manner.)

¢ . Mental health/criminal justice program initiatives must be explicit about the target population to be
served—including whether this is an expanded population that requires new funding resources and
services that.are beyond the current scope of the public mental health system. Understanding and

_ effectively responding to released prisoner needs will require assessment and service development:
that addresses gender and culture specific impacts including trauma and victimization.

e Not all psychiatric disorders are amenable to treatment modalities offered in the public sector and
individuals with certain personality and social disorders that are accompanied by criminal behaviors
do present supervision and public safety concerns. Local mental health systems that develop or
contract to serve these higher risk populations must distinguish specialty criminal justice services
from the broader public mental health system and be clear about inherent risks and responsibilities
in serving a new population.

e —Itis critical that there be agreed upon and broadly applied “risk assessment” tools and procedures
for criminal justice involved.populations. Risk and needs assessments should follow the
individual's progress through local and State institutions and services, .

(d) Recommendation regarding Coleman class target population to be considered for community
parole

Given the concerns and challenges described above regarding the population of mentally ill prisoners that
could be subject to release, | strongly recommend that only those mentally ill individuals assessed as
having the greatest level of psychiatric stability and the greatest potential to “voluntarily” follow-up on
outpatient care be considered for early release. There should be no requirement of CDCR that a release
plan include prisoners who qualify for all of the CDCR levels of care: 3-CMS, EOP or Crisis/inpatient
services. The most seriously mentally ill prisoners (EOP) should be considered for early release-if and only
if there.are intensive supervision and treatment services available to serve the released prisoner
immediately upon release and if there are provisions for inpatient care negotiated as part of the service
agreement,

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 7 of 67

While professionals have limited capacity to accurately predict the behavior or the course of mental illness
of parolees regardless of the care given to a pre-release risk assessment, release of high need prisoners
without adequate services in place could set back future program development by CDCR or counties. In
addition, the mandated release of seriously mentally ill prisoners at the predicted prevalence 19-20%
prevalence level in the prison population would have extremely limited positive impact mental health
services in the prison system. Special Master Keating states: “even the release of 100,000 inmates would
likely leave the defendant with a largely unmitigated need to provide intensive mental health services to
program populations that would remain undiminished by a reduction of some 19,000 3CMS (case
management level mentally ill inmates in the general prison population.) ...Only a targeted release of
seriously mentally ill inmates will serve quickly to reverse current deficiencies, especially of bed and
program space. Still, the most seriously mentally ill inmate/patients in CDCR are unlikely to be among
those released pursuant to any of the provision of defendants’ Assembly Bill 900.” (pg 15)

2. Mental health services needs, requirements and capacity for services provision—

The May 2008 report to the Three Judge Panel by Court appointed Settlement Referee, Elwood Lui and
Settlement Consultant, Peter Siggins, submitted as part of a proposed settlement agreement, a potential
program for “Local Diversionary Alternatives for Low-Risk Individuals” (A. 1.~pg 7ff}. In addition, in the April
17 Supplemental Responses to Defendants interrogatories, the Coleman Plaintiff's articulated proposals
that Defendants could consider as prison overcrowding reduction measures “available to them that can be
done safely and, in light of the. dangerous overcrowding in the prison system right now, could actually
improve public safety.” (April 17 Supplemental Interrogatories, No. 6, pg. 9-11) It is my opinion that both
of these proposals/reports fail to take into. account the capacity of either the CDCR Parole Outpatient

. Clinics or California's county mental health departments. fo provide the level of community mental health
care and community support.services or the psychiatric institutional care that will be necessary if there is a
rapid release of seriously mentally ill prisoners. In addition, neither of these reports acknowledges or
proposes a reasonable time frame for planning and implementing the array of services/programs that are
considered. It should also be understood that even a prisoner release that does not include Coleman class
seriously mentally ill prisoners will have a impact on community mental health resources and services.

The following issues must be addressed in order to accomplish a safe, humane and effective release of
seriously mentally ill prisoners:

* Who is responsible for the provision of mental health outpatient and inpatient care to mentally ill .
parolees?

. Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 8 of 67

e Whatis the capacity of CDCR Mental Health Parole Outpatient Clinics (CDCR-POC) to serve
additional mentally ill parolees?

e Whatis the capacity of county-based public mental health systems to meet additional service
demands. and how would public/community mental health programs be impacted by an increase in
mentally il parolees requiring services—including the impact if a Settlement Agreement is adopted
whereby counties are responsible for provision of “local diversionary alternatives to incarceration
for low-risk individuals”?

_ © Whatis required to implement additional services/programs for mentally ill offenders? What are
the structure, scope and responsibility and capacity of California's county-based community mental
health system to provide State and Federally mandated mental health services?

(a) What agency/system is responsible for funding and providing mental health and inpatient care
to parolees? .

A clear agreement must be developed between CDCR and counties regarding responsibility-and
accountability for mental health treatment responsibility for parolees, particularly as the Courts and/or the
State moves toward reducing the prison population. Historically, CDCR staff have attempted to refer active
parolees to county operated (or county contracted) outpatient, intensive outpatient and institutional services
while counties have taken the position that services to this population is not a county mental health -
responsibility. Clarification of responsibility for the funding and provision of outpatient, intensive outpatient
and acute inpatient:care has been the subject of multiple discussions between representatives of the
California Mental Health Directors Association on behalf of county mental health departments and CDCR
staff. A March 28, 2008 report released by the CDCR Division of Adult Parole Operations regarding the
mentally ill parolee population states:

“Consistent with the terms of the Valdivia v Schwarzenegger federal court injunction, effective
January 8, 2007, the California Department of Corrections and Rehabilitation (CDCR) no longer
incarcerates parolees solely for psychiatric treatment (psych-retum). Therefore, when a parolee
requires mental health treatment above the level of care available from the Parole Outpatient Clinics
(POC), CDCR relies on the counties, and other community-based providers, to obtain necessary
mental health services. Specifically, parolees are brought to the county mental health facilities for a
‘California Welfare and institutions Code (WIC) §5150 evaluation.. Oftentimes, a parolee resident
does not.meet the criteria for continued county services via the WIC §5150 process, but will still
require a structured level of care in order to prevent negative outcomes in the community. With the

Case 2:90-cv-00520-KJM-SCR | Document 3232-3 Filed 10/30/08 Page 9 of 67

end of the psych-return process, this level of care must now be provided by community-based menital
health facilities.” (pg. 2 of cited report).

To'the best of my knowledge, counties are fulfilling their responsibility to provide WIC 5150 assessments
and acute treatment pursuant to the Valdivia court decision, however, counties maintain that provision of
‘non-5150 related community mental health services remain the responsibility of CDCR directly or via
contract. Counties’ position that they have limited responsibility for parolee mental health services is further
supported by the restriction in 2004 Mental Health Services Act (Proposition 63) which prohibits use of
MHSA funds for parolee services or law enforcement/ustice system functions. (See SECTION 7. Section
~ §813.5 is added to Part 3 of Division 5 of the Welfare and Institutions
Code, to read: *,..Funds shall not be used to pay for persons incarcerated in state prison or parolees from
state prisons. This prohibition was included in the act because of the concern of the drafters of the ballot
proposition that all new resources to meet the critical unmet needs of mentally ill individuals in our
communities would be subsumed by the unmet needs in the state corrections system.

Clarification of funding and service provision responsibility for parolees is of particular: concern to public
mental health systems in light of their inability to. meet current community demand for state and federally .
mandated services. There have been indicators of progress as. CDCR has begun to negotiate contracts
with several counties to provide intensive and wrap around services to parolees either directly or via
contracted agency providers: However, a “phase one” release of 15,000 prisoners with a projected 3,000
requiring POC services—a 13% increase in the parole outpatient clinic will create additional pressures on
all services with potentially negative parolee impacts if this issue is not resolved.

(b) What is the capacity of COCR Mental Health Parole Outpatient Clinics (CDCR-POC) to serve
additional mentally ill parolees?

| would defer to CDCR staff regarding services capacity of the CDCR POC but on the basis of my prior
experience as a County Mental Health Director in.both San Mateo and Solano Counties and as Deputy
Director in Contra Costa County, itis my opinion that the Parole Outpatient Clinic System historically and
currently is unable to meet the needs of the mentally ill parolee population. This service capacity gap can
only be expected to increase if there is a rapid release of POC eligible parolees. CDCR reported.a total of |
22, 219 parolees eligible for POC services in February 2008. Four thousand and eight (4008) of this
population was designated as EOP and in need of higher level mental health services. The release of
15,000 inmates represents a projected 13% increase in the eligible mental health population based on
previously discussed estimating methodology. | believe that this conclusion is supported by the actual

Case 2:90-cv-00520-KJM-SCR Document 3232-3. Filed 10/30/08 Page 10 of 67

current numbers of authorized direct service positions to serve the POC client population and a June 2006
FINAL REPORT ON THE MENTAL HEALTH SERVICES CONTINUUM PROGRAM (MHSCP) OF THE
CALIFORNIA DEPARTMENT OF CORRECTIONS AND REHABILITATION—PAROLE DIVISION that was
conducted under contract by the Integrated Substance Abuse Programs (ISAP) at the University of
California, Los Angeles to conduct a process and outcome evaluation of the Mental Health Services
Continuum Program (MHSCP).

The MHSCP evaluation found that parolees with the highest level of mental health need (EOP) had a
higher recidivism and prison return rate than the CCCMS population: 60.9% of EOP parolees were returned
to prison within 12 months, relative to 53.4% of CCCMS parolees; (pg. 18) In addition the evaluation finds
a“a strong relationship between the number of POC sessions attended and recidivism risk for all seriously -
mentally ill parolees. Specifically, “the greater number of POC contacts a CCCMS/EOP parolee has, the
less likely he or she is to be returned to prison, Interestingly, the greatest decline in recidivism risk occurs
for parolees who have attended a POC more than four times.” (pg. 26) Even without a finding related to the
mode/type of services provided by POC which would reflect current evidence on best practice, itis clear
that increased frequency and numbers of contacts with a direct service provider reduced recidivism for the
POC population. _

The previously cited March 28, 2008 Adult Parole Division report provides staff: client caseload ratios for
direct'service POC staff as follows:

Statewide Parole Outpatient Clinic Classifications~-February 2008
Parolee to Clinician Ratio

Staff Psychiatrist 41 §42:1
Clinical Psychologist 47 - 47331
Clinical Social Worker 128 174:1

Total authorized positions equal 239 including 23 non case carrying supervisory
positions.

In my experience, these client: clinician ratios dramatically exceed generally accepted community
standards for effective services and itis further my understanding that these ratios are significantly higher
than standards for care in the State’s correctional facilities. In community mental health settings, outpatient
case management caseloads of 50:1 are considered too high to provide effective services other than
referral and brokerage. Although there is no consistent psychiatrist caseload standard in county mental
health departments, it is my opinion-and experience that the POC psychiatrist caseloads of 542:1 are at
least a third higher and more typically close to double the full time equivalent caseloads of community

Case 2:90-cv-00520-KJM-SCR Document 3232-3. Filed 10/30/08 Page 11 of 67

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psychiatrists.

Any prisoner release program that does not insure adequate capacity for even the most basic outpatient
services can be expected to fail as measured by parolee recidivism—and if there is a population cap that
affects returns to prison, it can be anticipated that these individuals will put new demands on the county
programs and local jails.

(c) What is the capacity of county-based public mental health systems to meet additional service
demands and how would public/community mental health programs be impacted by an increase in _

“ mentally ill parolees requiring services—including the impact if a Settlement Agreement is adopted
whereby counties are responsible for provision of “local diversionary alternatives to incarceration for low-
risk individuals"? .

California's county-based public mental health system does not currently have the financial, resource or
workforce capacity to dramatically increase the availability of services to seriously mentally ill parolees
within a short period of time such as the next several years.

Financial resources are inadequate and not keeping up with current costs--California’s public
community mental health system is operated by 56 counties and two cities with function as the local Medi-
Cal mental health plan for Medicaid beneficiaries and indigent care.and other related services. (The
remaining two of the 58 counties having opted to have services provided through neighboring county
mental health plans.) Several key legislative and administration initiatives in the early 1990's: Realignment
and Medi-Cal (managed care) Consolidation crafted a State and County relationship in which the State:
Department of Mental Health directly operated the state hospital system and retained regulatory and quality
assurance functions while counties became responsible for the design and provision of community mental
health services.(and purchased state hospital and acute psychiatric beds) at the local level. County mental
health services have been primarily funded through a combination of State Sales Tax and Vehicle License
Fees-VLF (Realignment known as the Bronzan-McCorquodale Act, (Chapter 89, Statutes of 1991) and
Federal Medicaid funds. Since 2000, it has been necessary for counties to allocate an increasing share of
counties’ sales tax and VLF revenues to providing a.50% required match to drawn down federal Medicaid
funding for Medicaid beneficiaries that require mental health services. This has reduced the level of
funding available for services to indigent individuals who do not qualify for federal Medicaid or SSl-linked
Medicaid benefits. Indigent services (other than 5150 related services) are provided for seriously mentally
individuals only to the.extent that resources are available. In addition, the distribution formula for
Realignment funds established in 1991 did not undo historical inequities in resource allocation—through
growth formula distributions did provide additional funds to under-resourced counties.

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 12 of 67

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In 2004, voters approved the Mental Health Services Act (MHSA or Proposition 63) in order to increase the
availability and quality of community mental health services to seriously mentally il] and emotionally
disturbed children, youth, adults and older adults. It has been widely recognized that California's public
mental health system was and still remains unable to meet the needs of the State's seriously mentally il
population with tragic consequences including the “criminalization of mentally ill individuals” and increased
homelessness. Target distributions (subject to the submission of successful applications/MHSA plans)
were based on a formula that took into account unmet service needs and populations in poverty as well as
the historical resource base of each county. Although it is difficult to quantify unmet need, DMH Annual
Planning Estimates issued in June 2005 provide documentation of the very real—and unevenly distributed
gaps Californian’s face in the availability of public sector mental health services.

(http :/www.dmh.ca.gov/DMHDoes/does/letters05/05-02_Encl-1.pdf)

Although the Mental Health Services Act has generated additional resources for the development of new
and expanded services, sales tax, VLF and Medicaid funds that support core county mental health services
have either decreased or not kept pace with the cost of doing business. At this time there are several
California counties that may not have sufficient funds to provide federally mandated Medicaid services and
have notified the State-or are considering notifying the State, that they intend to “opt out’ and return the
program to the State to administer. With the economic slow down of the last several years, many counties
have been forced to cut services equivalent to the level of any new services added through the MHSA:
These key findings are documented in a March 2006 Report from the California Mental Health Directors
Association on History and Funding Sources of California’s Public Mental Health System. The gap
between funding and need has only gotten worse as the State and local economies continue in a down-turn
thus public mental health systems do not have the financial resources to serve a new population of
seriously mentally ill parolees and meet their current state and federal obligations to serve other seriously
mentally ill residents. . .

(d) There is an overall lack of sufficient outpatient and inpatient program capacity including
inpatient psychiatric and sub-acute locked institutional/secure settings

The gap in availability of outpatient community services is most directly related to. availability of professional
and trained professional staffing that is discussed below under "the workforce crisis) —although counties are
also struggling with having adequate facilities for service provision of clinic based services. As will be
further discussed in my comments on effective/evidence based practices for a seriously mentally ill parole

_ and/or probation population, public mental health systems have learned that case ,
management/coordination and clinical services are. not sufficient in and of themselves to support the

10

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 13 of 67

community stabilization and rehabilitation of seriously mentally ill individuals. Findings of the President's
New Freedom Commission on Mental-Health (2003) and the preponderance of literature on community
mental health supports the importance of a range of community support services including supported
housing, educational and vocational services, substance abuse treatment, integrated treatment for
individuals with co-occurring substance abuse and psychiatric disorders, family education and support and
health services. Access to these community supports and services is routinely cited as essential to the
successful re-entry for mentally ill prisoners in national studies such as the Report on Re-entry of the
Council of State Governments and the reports cited by the Plaintiffs as the basis for the development of
safe and effective prison population reduction plans. (April 17, 2008 Supplemental Interrogatory
Responses, pg. 9) It is my opinion based on my experience as a County Mental Health Director and my
current work as a corrections-focused policy consultant to the California Mental Health Directors
Association, that community support services—particularly supported employment opportunities and
supervised or supported housing are inadequate to meet the needs of current public mental health clients.
These critical community support services—especially residential and supported housing facilities, cannot
be brought on-line quickly, or in the next few years. The crisis California faces in the lack of adequate,
stable and supported housing for persons with mental illness has been highlighted in the Mental Health:
Services Act of 2004 and in the Governor's 20-year plan fo end homelessness, but it is recognized that it is
along term proposition—estimated to require 20 years to fund and develop the necessary special needs

housing,

However, there is an even more immanent crisis that communities are confronting related to the lack—and
growing shortage of inpatient psychiatric beds. This gap in bed access and capacity varies significantly by
state geographic region. For example, inpatient costs and profits relative to other medical specialties and
the need for hospitals to upgrade to meet OSHPD earthquake safety standards, has led to a dramatic
decline in the number and availability of inpatient psychiatric beds in the San Francisco Bay Area over the
past 5-10 years. In northern and more rural California, counties are forced to transport long distances for
inpatient care—particularly with the closure of Shasta County's inpatient psychiatric health facility.

if there is a prisoner release (assumed to be 15,000-40,000 CDCR prisoners for the purposes of this report)
over the next several years, and a projected 19-20% or 3,000-7,600 of those parolees are classified as
seriously mentally ill, | would expect significant additional demand for crisis and inpatient psychiatric care
that the current public (and private) mental health system cannot safely meet. Even if a prisoner release
does not include Coleman class seriously mentally ill individuals, it is reasonable to expect an increase in
demand for outpatient, but particularly for psychiatric emergency/crisis and psychiatric inpatient care. The
Coleman class of prisoners only includes individuals who meet criteria for serious mental illness but the
general population subject to release will have mental health problems that particularly if there is.increased

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Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 14 of 67

substance use in the community, will result in depression, “suicidality’ and psychotic symptoms (including
psychosis NOS) that require assessment and treatment, These individuals will typically not have SSI-
linked Medi-Cal and will become the indigent care responsibility of the counties.

in addition the Valdivia v Schwarzenegger federal court injunction of 2007 (previously cited) prohibits CDCR
from returning parolees to state correctional facilities for psychiatric treatment—a practice that was used
prior to the injunction. There is currently a lack of clarity and agreement between the State Department of
Mental Health, county mental health departments and CDCR about agency responsibility and requirements
for insuring parolee access to 5150 evaluation and treatment. This is by no means just a financial
responsibility question but also a question of how timely assessment and treatment is assured to the
parolee once he/she is taken to a 5150 facility as an "inmate". Are 5150 facilities—including private
psychiatric hospitals obligated to admit? {f an extended evaluation or hold is necessary who is responsible
for providing the treatment services and security services? Who is responsible for payment? Under what
circumstances would the individual be admitted to a DMH inpatient facility and with what priority? Is the
court clear about the differences in the obligation of counties who are responsible for LPS services and
which often contract with private hospital facilities for LPS services, and DMH which directly operates only
state hospital and prison mental health facilities. These concerms and issues about access to crisis .
evaluation and inpatient care will be intensified if there is a Coleman class prisoner release. It is critical that
the Courts ensure that a plan and capacity is in place to provide crisis evaluation, psychiatric inpatient care
and locked sub-acute (locked Imp’s) for mentally ill parolees. Failure to identify, quantify and plan capacity
to meet this need will almost inevitably result in parolees experiencing community psychiatric crises that
cannot be adequately and safely addressed. Currently it is estimated that 7-10% of local law enforcement
patrol officer encounters involve individuals with psychiatric disorders—with a significantly higher
percentage involving substance use. (Munitz, Griffin)

(e) The workforce crisis

Funding short-falls are not the only challenge to counties as they work to provide core community mental .
health:services. The mental health/behavioral health workforce is not adequate to meet current needs—let
alone the expanded and focused needs of a justice involved mental health population. Special Master
Keating's 5/17/07 report discusses critical vacancy rates of mental health staff at CDCR facilities—and the
uneven geographic distribution of vacancies: “...defendants cannot meet at least a substantial portion,
amounting in some loose amalgam, to about 33% of acknowledged mental health needs with current
staffing resources.” (Special Masters Report, PG 14) Just as vacancies are distributed unevenly across
State Correctional facilities, critical vacancies in community mental health staffing impact counties
disproportionately. Additional challenges include:

12

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 15 of 67

e  Availability/capacity of management, administrative and technical staff to plan, design, implement
and supervise new/expanded programs (whether county-operated or contracted with community
agency providers); and

e Critical workforce shortages that have resulted in a lack of professionals (and trained
paraprofessionals) required providing treatment and rehabilitation programs in community mental
health programs and as has been well documented--in corréctional facilities.

In addition, the impact of wage competition that was driven by CDCR prison and.state hospital health care.
needs has been well documented and in a number of instances has resulted in high county mental health
department vacancy rates in critical professional classes including psychiatrists and licensed clinicians.
The shift of currently incarcerated populations to community care will only increase California's behavioral
health workforce crisis—especially for skilled professionals. Public mental health systems also confront
workforce skill and training gaps. Our workforce ‘is not fully trained in providing therapeutic service
interventions identified as best practices for the justice involved mental health population. The focus of
state and local agencies on corrections reform and rehabilitation and county mental health MHSA -
workforce education and training initiatives may provide new opportunities and resources for designing
career pathways and collaborative training ventures but these ventures will take time to roll-out and a
conscious investment in creating the workforce of the future. Even with the best case scenario and rapid
attention to workforce development and training initiatives it will take several years to increase the
availability of personnel to provide enhanced correctional mental health services, Failure to take.on the
challenge of workforce development and failure to provide lead time fo educate, recruit and train mental
health direct service providers will result in lack of access to needed and appropriate levels and intensity of
services—which will only exacerbate the current COCR POC dilemma with high recidivism and the
potential of community backlash and negative consequences including death and suicide for a disturbed
and sometime disturbing justice involved mental health population.

In order to create expanded workforce capacity, the State and counties should consider cooperative
investments in initiatives such as:
* Specialized masters, post-graduate and continuing education programs in forensic assessment
and treatment strategies. For example, the City University of New York’s John Jay College of
Criminal Justice has recently established a partnership with Arizona State University develop
cross-county criminology programs.enhance research efforts and strengthen ties between
academia and practitioners” (John Jay College Press Announcement 6/18/08) California
should be at the forefront of creating such academic training partnerships.
e Community college based initiatives for case management and other paraprofessional staff;

13

Case 2:90-cv-00520-KJM-SCR Document 3232-3. Filed 10/30/08 Page 16 of 67 |

e Regional and distance learning best practices training for clinicians and other providers.
e Best practices learning partnerships such as the MIOCR grantees’ learning collaborative
facilitated by California Institute of Mental Health. -

{f) Additional comments on specific proposals put forth in Supplemental Response to Interrogatory
No. 6.

Although | have discussed problems that would impact implementation of many of the prisoner release.
options identified by the Plaintiffs, | will comment directly on several of the options identified in
Supplemental Response to Interrogatory No. 6. "The Plaintiff's state (pg. 9): “Defendants have numerous,
evidence-based population reductions available to them that can be-done safel and, in light of the
dangerous overcrowding in the prison system right now, could actually improve public safety.” While |
agree that some of the proposed options have merit, | do not believe that any of the options—if applied to a
seriously mentally ill and/or a mentally ill population with co-occurring substance abuse history, can be
rapidly, effectively and safely be implemented in the community. My discussion above documents the
extreme difficulty local mental health departments and related community service providers face in meeting
current, let alone expanded demands. A rapid release of mentally ill prisoner, without adequate and
immediately accessible services and resources may reduce overcrowding conditions in the state prison
system but it would do so at the cost of increasing risk for many of these prisoners and our communities.

e 2.-“Provide intensive probation supervision for 18-25 year old offenders.” This option appears to
propose a shift of released prisoner supervision from parole to local probation departments under a
program of intensive probation supervision. An investment in this younger population, including
those transition age youth/young adults with mental illness and a very high rate of co-occurring
psychiatric and substance use/abuse disorders could help to interrupt the cycle of
relapse/recidivism and incarceration for this population, The caution and concern here—like with
many of the other options is that intensive probation supervision must be accompanied by
treatment and community integration supports and services. Effective treatment for transition age
young adults (TAY) is rarely clinic based and requires the development of staff and resource
intensive flexible wraparound services. In general, a seriously emotionally disturbed transition age
young adult—including justice system involved TAY's should receive services based on.a 1:10 or
maximum 1:15 provider to client ratio. The community planning guidelines for the development of
transition age youth “full service partnerships” developed by the State Department of Mental Health
(posted on DMH-MHSA website) are useful in designing programs. In the San Francisco Bay
Area, these programs cost up to $40,000 per year for participant—still a cost savings compared to

14

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 17 of 67 ©

incarceration. :

@ 9. “implement a Validated Risk Assessment Instrument throughout CDCR...” The availability and
CDCR progress re: implementing a the COMPASS risk assessment tool is a positive step in
preparing prisoners and agencies that serve prisoner for community release. However, to my
knowledge the COMPASS is not universally completed for all prisoners assessed as “low-risk” and
comprehensive data on the individual and aggregate COMPASS assessments has not been
provided to the county agencies that should have this information to design effective re-entry plans
in collaboration with CDCR. As the CSAC response to the 2008 LAO Parole Realignment
Proposal, risk assessment must also focus.on more than the most recent violation and
incarceration since prisoner whose current offense is low-risk may have committed very serious
prior offenses that must be acknowledged in designing community services.

¢ 11,-"Expand Alternative Sanctions...to include drug treatment programs, mental health programs

providing residential, day treatment...” There is not current capacity to provide cited residential
treatment and care in either County Alcohol and Other Drug (AOD) systems on Mental Health

_ Departments. Some counties do not have mental health residential treatment facilities and via

~ personal communication, | am aware that there are already concerns that AOD residential
treatment beds are being “bought up” by CDCR resulting in diminished access to these critical
programs for non-parole populations. The vast majority of counties no longer provide adult day
treatment programs but rather have moved to supported and more integrated community support
services including supported employment, consumer self-help centers, and supported education,

e 12. “Divert new court commitments with county subsidy grants similar to SB 87 for
housing/treatment of non-violent offenders..” See previous comment (No. 11) regarding lack of
residential facilities. While it would be possible to develop these residential treatment facilities—
generally operated by community provider agencies, it would be a multi-year process at best to site
(including community use permits), build/rehabilitate facilities, As is well known , community
“nimbyism’ is also a major barrier to the development of these facilities—and particularly for
facilities that serve justice system involved individuals.

© 14. “Expand Pre-Release Planning services for mentally ill, developmentally disabled, ad other
special needs inmates...” This is a critical step for any release plan to work. Although it is beyond
my scope in this expert witness report, | also believe that it is critical to insure that there are
adequate plans and provisions for the eventual discharge of individuals with developmental
disabilities. There is an even more serious gap in availability of appropriate community-based

15

~ Case 2:90-cv-00520-KJM-SCR = Document 3232-3 Filed 10/30/08 Page 18 of 67

services for the DD population and as a result, these individuals inappropriately end up in
psychiatric institutions and jails.

e .15, “Redirect funds to counties to manage parolees with mental iliness...including (cites, housing
and treatment facility placements...and expansion of mental health courts)” CSAC and its affiliates
(See CSAC position on LAO 2008 Parole Realignment Proposal) have stated that a well planned
and appropriate realignment of low-risk parolees may ultimately make sense and that many of the
best practices in supervision, treatment and rehabilitation would equally address the needs of both
parolees and county probationers, however, CSAC opposed this proposal due to lack of clarity and
risk-assessment of the population to be “re-aligned’, lack of adequate funding guarantees and lack
of fully thought out plan that could be expected to succeed. In addition, CSAC and other statewide
organizations such as CMHDA were, and remain convinced that any initiative that focuses solely
on the back-end of the system through a prison. population cap without a equal and parallel
development of community based prevention and early interventions services will ultimately fail.
And, the consequences of failure to Implement prevention and early intervention programs—will be

felt in our already over-crowded jail and in our communities.

e. 16. “Establish specialized mental health parole units to provide appropriate supervision, access to
treatment, housing and reintegration with the community.” My concerns about access to services
and supports have been stated previously. | believe that it would be-a positive step to establish
specialized mental health parole units with significantly lower caseloads—and that would gain
expertise in serving seriously mentally ill parolees. A successful precedent for this type of special
population based unit can be found in some of the successful Mentally Ill Offender Crime
Reduction grants from the Corrections Standards Authority. (Note: this successful program no
longer has funding.)

3. Increasing the availability of effective and evidence-based services to mentally ill
parolees

Both Referee's (unadopted-draft) Settlement Proposal and Coleman Plaintiff's Supplemental Responses to
Defendants’ interrogatories assert that effective and evidence-based re-entry programs that should be put
in place to address the populations needs—which Coleman Plaintiffs assert should include all COCR
classifications of CDCR prisoners including the most seriously psychiatrically disturbed. | have reviewed

- and am familiar with the majority of the cited reports as well as additional nationally recognized reports
including but.not limited to the Criminal Justice/Mental Health Consensus Project Report and the Re-Entry
Report or the Council of State Government, the National GAINS Center for People with Co-Occurting

16

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 19 of 67

Disorders in the Justice System including the APIC Model: A Best Practice Approach to Community Re-
entry from Jails for Inmates with Co-occurring Disorders (Osher, Steadman, and Barr). California's 2007 AB
900 “Rehabilitation Strike Force” report Meeting the Challenges of Rehabilitation in California's Prison and
Parole System reviews current research on effective offender treatment. | have also been involved in the
design and implementation of effective programs for mentally ill offenders including two MIOCR grants, a

_ mental health court, and the CONREP program for conditional release of mentally ill offenders from the
state hospital system and have personal experience with the importance—and the difficulty of implementing
best practices in “real world” community environments,

There is a consensus, both nationally and in California, regarding the importance of providing targeted,
effective and evidence-based clinical and community support services to parolees and other justice system
involved seriously mentally ill individuals in order to prevent recidivism and re-incarceration, And there is
agreement that a continuum of services should be available that can be tailored to the specific needs of the
mentally ill individual—in order to avoid either over or under-treatment. This growing expert.consensus
stresses the importance of establishing a coordinated continuum of prevention, early intervention, treatment
and rehabilitation that provides/insures access to behavioral health services that are coordinated with
justice system intervention and/or sanction and supervision.

In my opinion however, there is a chasm between this growing expert consensus regarding
effective treatment and practices and the knowledge/practice base in the field—both among CDCR
POC clinicians and within county mental health and AOD service providers. The following are
several examples of the gap between evidence-based treatment knowledge and practice in the field.

e. The 2007 California Expert Panel on Adult Offender and Recidivism Reduction Programming. offers
a clear opinion that “the CDCR does not offer a sufficient quanitity of evidence-based rehabilitation
programs” and includes specific recommendations related to the effectiveness of
cognitive/behavioral skills training and therapy (CBT), however, there is no evidence that most
POC and public mental health department clinicians are trained and/or competent in CBT.

e Integrated Services for Individuals with serious mental illness and co-occurring mental health
disorders—| have addressed the prevalence of co-occurring substance use disorders among
seriously mentally ill prisoners—generally understood to be over 75%. In addition, there is clear
evidence and a growing consensus that these individuals can only be treated effectively through
integrated mental health/substance abuse services. However, there are very few community
mental health or substance programs that provide this integrated approach. Any serious effort to
promote community release of prisoners—and reduce their 70% recidivism rate, must develop
explicit plans for specialized co-occurring disorder treatment. This cannot be achieved without an

17

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 _ Page 20 of 67

investment of funding and time to put programs on the ground.

¢ Community integration supports: Effective mental health/criminal justice services require, state-of-
the-art treatment resources, but also health care services, income support, housing, education,
jobs and access to social and leisure activities. This means that mental health/criminal justice
initiatives. must fundamentally rely on other community agencies and institutions and foster social
inclusion. Effective parole re-entry initiatives should include specific plans for community
integration supports that are specific to each county that would receive paroled offenders.

Gender, sexual orientation, and culture/race and ethnicity impact access and design of effective
mental health treatment interventions and services. One size does not fit all in program design.
This understanding of the importance of culturally specific mental health services is largely lacking
in the national literature and research on effective practices for the criminal justice involved
population. For example, services for women must be gender focused and take into account
prevalent experiences of victimization, abuse, trauma and re-dramatization both in the community
and in institutions. California has much to offer in developing and documenting services that are
responsive to culture, gender and sexual orientation and these issues must be considered in
offender release plans

¢ Transition Age Youth-Young Adults in the Justice System—There is a growing body of effective
practice, both service design and specific therapeutic interventions that identify and address the
needs of youth as they transition to young adulthood. However, the very structure of criminal
justice system institutions create barriers to implementing transition age focused services and

supports. Forexample, the.mostrecent-round_of Mentally_lilOffender-Crime-Reduction-Grants
funded innovative programs for adolescent or adults but were precluded from funding programs
that focused on bridging these systems.

4, Potential adverse impact of Coleman population release on community safety and
risk, the development of community mental health systems, and community
acceptance of individuals with mental illness

An accelerated release of prisoners who meet Coleman class criteria can be anticipated to have adverse—
and potentially serious consequences for the released prisoners; community mental health systems and the
(non-offender status) mentally ill children, adults and older.adults they serve; a potentially negative impact
on community safety if adequate supervision, treatment services and programs are not in place at the time
of the prisoner release; and potentially long-term negative consequences to community acceptance and the
development of public mental health services in the future.

18

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 21 of 67’

The focused discussions and conclusions of a special CSAC taskforce that was established to develop a
response to the LAO's 2008-09 budget proposal to release up to 72,000 “low-risk” offenders (subsequently
“refined” and reduced to a projected:50,000 offenders) and shift community supervision responsibility from

_ parole to local probation departments, describes the concerns that county agencies and communities would
have if there were a prisoner release order. In my opinion (and as a member of this CSAC representing
CMHDA), these concerns would be magnified in the event of a release order that included all Coleman
classes of seriously mentally ill prisoners. It is relevant-to note that the legislature did not ultimately support
the parole realignment proposal because of the concerns raised by CSAC, CMHDA and others. The CSAC
taskforce report (which was accepted by the CSAC Board) had several key conclusions:

e The LAO Parole Realignment proposal focused on “the wrong end of the.corrections system and
targets the wrong population.” The CSAC taskforce advocates a “front-end"/community focus.on
intercepting criminal justice at risk/involved persons through prevention, early intervention and
diversion programs rather than “expecting counties to succeed with offenders who have been
subject to severely overcrowded prison conditions,...exposed to harmful criminal influences, and
received little in the way of services or preparation for reintegration.” .

@ “Better outcomes cannot be assured...” especially in light of the lack of adequate local services to
a substantially larger existing population at the local that is “presently receiving inadequate
supervision and services because of a lack of funding.”

e “Our existing system needs attention...a realignment of a significant new population will only place
additional pressures on a strained and under-funded system.

Rather than a prisoner release pian that fails to take into account the need to prepare communities for
prisoner reintegration, CSAC recommended the implementation of recommendations contained in the .
CDCR Expert Panel Report on Adult Offender and Recidivism Reduction (2007) including establishing
community diversion programs to reduce the pressure for state incarceration, the development of
community re-entry facilities for low risk offenders, reform of the parole system to expand community

_ supervision for low-risk offenders, and strengthening state/local partnerships to develop the array of
prevention, diversion and re-entry services strategies. It is my opinion that these strategies—including an
extensive focus on creating and expanding both CDCR-POC and community mental health and substance -
abuse provider capacity are far more likely than a prison release program to result in a prison population
reduction that can-both be implemented and sustained over time.

| have just received and briefly reviewed several documents that describe Receiver Kelso’s plans for
providing additional mental health care for Coleman class prisoners. (Declaration of William Proctor in

19

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 22 of 67

Support of Motion of Receiver J. Clark Kelso for Order Adjudging Defendants in Contempt for Failure to
Fund Receiver's Remedial Projects and/or for an Order Compelling Defendants to Fund Such Projects
dated August 13, 2008 and the Operational Guidelines Report, California Health Care Facility, California
Prison Health Care Receivership Corporation dated July 8, 2008.) In my opinion, the proposed construction
and.-operation of improved mental health facilities and treatment through the construction and staffing of
Consolidated Health Care Facilities (CHFC’s)—-to include 5000 beds and treatment facilities for seriously
mentally ill inmates/patients, offers a more reasonable arid considered resolution to the impact of
overcrowding on Coleman class prisons than a potential prisoner release to communities that are
unprepared to meet their needs. ‘It is also my opinion and caution that this plan to operated CHFC’s can
only provide part of the long term solution, As was at least partially envisioned under the provisions of AB
900, there is also a.continuing and urgent need for the State to insure the development of community
capacity to provide prevention, early intervention and treatment services that will address and reduce the
number of seriously mentally ill individuals who become involved in the criminal justice system. Addressing
either approach to resolving this crisis in isolation will fail in the long run. | reserve the right to supplement
and update my analysis of the information addressed above as time permits in the future. -

| will conclude this report with a brief summary of my opinion about the likely consequences ofan
inadequately planned, funded or implemented prisoner release program(s) for seriously mentally ill
prisoners. .

Consequences for released.prisoners—Our current fail-first system has already demonstrated that there is
every reason to expect that prisoners with serious mental illness and_a criminal history will fail to follow-up
on mental health and substance abuse treatment, including taking psychiatric medications, in the absence
of an effectively functioning system of low caseload parole/probation supervision and easily accessible
evidence-based mental health treatment, including integrated mental healthsubstance abuse services.
Seventy-five-eighty percent of these individuals have a prior history of substance use/abuse that
dramatically exacerbates psychiatric symptoms and this is one of the key factors that is known to be
predictive of increased violence/harm to self or others. There is a much higher risk of suicide in this
population than the general public. It is likely that these individuals will continue to experience high _
recidivism rate that CDCR currently reports—and that they will use.a disproportionate share of local
criminal justice and mental health and other health and social services, Nationally recognized programs,
including-California’s MIOCR and.CONREP programs have demonstrated that mentally ill offenders can
achieve a much higher level of psychiatric stability, rehabilitation and assume positive community roles if
appropriate supervision, services and supports are in place.

Negative impact on community mental health systems—California’s county-based community mental health
systems are already over-burdened and unable to address the needs of their seriously mentally i

» +20

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 23 of 67

7

populations. Even in the face of a continuing budget crisis, the passage of the Mental Health Services Act
-of 2004 brings hope that over time a better resourced and more effective public mental health system of
care will be able to focus on prevention and early intervention services that can reduce or mitigate some of
the consequences of serious mental illness to affected individuals, their families and communities. More
effective and timely interventions and services have been demonstrated to reduce community, institutional
and criminal justice system costs.. However, public mental -health:systems must also function to help
counties manage their population and community risk. An ill-planned:and poorly resourced prisoner
release order is likely to result. in county mental health departments being forced to shift the balance of their
resources to address community safety issues—with a higher percentage of community treatment
resources being directed to high-end/high cost crisis and inpatlent/institutional services to.a justice
involved/paralee population that is assessed to present a danger to themselves or others as a result of
mental illness. This shifts the balance of resources to highest cost interventions at the expense of
prevention and less.costly community-based services. Ultimately, the lack of adequate prevention, early
intervention treatment and diversion resources will perpetuate the cycle of the criminalization of individuals
with mental illness who are then incarcerated in our jails and prisons.

Impact on law enforcement, the courts and county jails—Seven to ten percent of local police officer
community incidents involve individuals who have (broadly defined) mental health issues. When mentally ill
individuals commit crimes, even relatively low level crimes, they cycle through the local criminal justice
system. They are among the most difficult. and costly inmates in local jails—and serve sentences that are
disproportionately long in relation to their offense. With few exceptions, county jails do not have facilities or
the capacity to provide appropriate or effective. mental health care—and do not have correctional facility
based involuntary inpatient psychiatric treatment options. County correctional facilities are forced to house
inmates who are incompetent to stand trial for felony offenses—not uncommonly for 6 months-or longer
because state hospitals have staffing shortages and will not admit. DA’s and Public/Private Defenders find
preparation, prosecution and defense of cases involving individuals with serious mental illness-among their
most challenging and time-consuming. Superior Courts are establishing mental health and behavioral
health courts at an increasing rate and though these courts have positive results, they are labor intensive
for both the justice system and treatment providers. County Probation Departments have extremely high
caseloads and typically "bank” cases that are assessed as lower level risk. Probation Departments rarely
have the resources for the more intensive supervision demonstrated to be a contributor to lower recidivism
in multiple MIOCR grant-funded programs to reduce recidivism and re-arrest. This is the local criminal
justice system as it currently struggles to respond to individuals with mental illness and co-occurring
psychiatric and substance abuse disorders. A prisoner release—and particularly a prisoner release that
includes Coleman class seriously mentally ill prisoners will have a significant negative impact on an already
over-burdened system. This could also have the effect of reducing or eliminating some of the very

21

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 24 of 67

programs that are proving effective for the justice involved mentally ill population—simply as a result of
increased demand and pressures on the local criminal justice system.

Potential impact and implications for community acceptance of individuals with mental lllness—The first US
Surgeon General's Report on Mental Health (1999) and the subsequent US Surgeon General's Report
Supplement on Mental Health:Culture Race and Ethnicity (2001) identified stigma and discrimination as the
greatest barriers to mentally ill individuals accessing needed treatment. The general public's fear of
individuals with mental illness and discriminatory practices related to this fear including a lack of
understanding of mental illness have historically created barriers to the development of community mental
health services and facilities—particularly, specialized treatment facilities and housing. Over the past
decade, there has been progress in public awareness and acceptance of individuals with mental illness.
There has even been an increase in awareness of the importance of addressing the unnecessary
“criminalization” of seriously mentally ill individuals—and, in my opinion some small reduction in the
automatic assumption on the part of the general public that individuals with mental illness are more violent
than the general population. However, an inadequately planned and implemented Coleman class mentally
ill prisoner release (or even a general prisoner release without adequate supervision and community
service supports,) is likely to result in an increase in community incidents. Even a small number of these
incidents has the potential of slowing or reversing the gains of mental health advocates and the mental
health system over the past ten years. A strong and effective community mental health system—and one
that mentally ill individuals are not afraid and ashamed to use, is one of the keys to reducing the
criminalization of individuals with mental illness—and ultimately to reducing the State’s prison population.

Mentally ill prisoners have a right to humane and effective services, but in my opinion, the key to effective
care and the reduction of over-crowding in our institutions is to insure the availability of sufficient resources
in our communities that prevent avoidable incarceration and to insure that an appropriate array of effective
supervision, treatment and. community support services are fully available and accessible to insure safe
community integration and rehabilitation when individuals with mental illness do commit crimes.

| reserve the right to supplement this report as additional information becomes available.

Case 2:90-cv-00520-KJM-SCR § Document 3232-3 _ Filed 10/30/08 Page 25 of 67

(Il) the data or other information considered by the witness i in forming opinion;
Include list of reports and references reviewed

The following publications, reports and data were reviewed in preparation and as citations for this
report.

1) A letter from the California State Association of Counties to Martin J. Mayer dated September
14, 2007 entitled "Potential County Impacts Resulting from a Prison Population Cap."

2) Plaintiff Coleman's Supplemental Responses to Defendants’ Interrogatories, set one, served
April-11, 2008.

3) The July 2, 2008 scheduling order issued by the Three-Judge Panel.

4) The Final Report on the Mental Health Services Continuum Program of the California
Department of Corrections and Rehabilitation-Parole Division dated June 30, 2006.

5) Coleman Special Master ‘Keating’ 's Response to the Coleman Court's May 17, 2007 Request for
Information,

6) The Coleman Special Master's report on suicides at CDCR for calendar year 2005.

7) R. Patterson and K. Hughes. 2008. “Review of Completed Suicides in the California Department
of Corrections and rehabilitation, 1999-2004.” Psychiatric Services. 59 (June): 676-682.

8) Status Report filed by Settlement Referee and Consultant dated June 2, 2008.

9) Supplemental Status Report filed by Settlement Referee and Consultant dated June 30, 2008.
10) Draft Settlement Proposal dated May 27, 2008.

11) California Prisoners & Parolees, 2006, Offender Information Services, Data Analysis Unit.

12) Mentally Ill Parolee Population, 3-28-2008, Report by the CDCR Division of Adult Parole
Operations.

13). Ca Prevalence Rates for Serious Mental Illness:
httov/www.dmh.ca.gow/Statistics and_Data_Analysis/CNE/pSwsmi01_caindex1.htm

14) DMH—Mental Health Services Act; Annual Planning Estimates for the Three-Year Community
Services ‘and Supports Funding, 2005
~ http://www.dmh.ca.gow/DMHDoes/docs/letters05/05-02_ Encl-1.pdf

15) DMH Mental Health Services Act Five-Year Workforce Education.and Training Development
Plan for the Period April 2008- Aprif 2013, CA Dept. of Mental Health (2008)
http:/www.dmh.ca.qow/Prop_63/MHSA/Workforce_Education_and_Training/docs/MHSA_FiveYear

23

Case 2:90-cv-00520-KJM-SCR = Document 3232-3 Filed 10/30/08 Page 26 of 67

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16) Mental Health Services Act “Progress Report’ July 2008, CA DMH
http:/Avww.dmh.ca.gow/Prop_ 63/MHSA/Publications/docs/ProgressReports/MHSA_Progress_. July2
008.pdf

17) Corrections Reform: County Policy Principles and Guidelines, California State Association of

http://www.csac.counties.org/images/users/1/CSAC%20Corrections%20Policy%20Revision %20a
dopted%20by%20B0D%2052208. pdf

18). Implementation of AB 900, CMHDA Testimony Provided Senate Budget and Fiscal Review .
Committee No. 4, Patricia Ryan, Executive Director, CMHDA, April 11, 2008,
http:/www.cmhda.org/public_policy/documents/State%20Docs/State%20Advocacy Legislative%2
QLetters/Assembly%20Bills/0804_AB%20900 CMHDA%20testimony%20to%20Sen%20Budget%2
Qsubcom4-4-08abfinal.pdf

19). History and Funding Sources of California's. Mental Health System, Patricia Ryan, Executive
Director CMHDA, 2006, CMHDA Website Library htto:/Awww.cmhda.org/breaking_news/news.html

20) CDCR Report, Integrated Strategy to Address Overcrowding in CDCR's Adult institutions,
June 2008 htto:/www.cder.ca.gow/News/docs/2008 06_18 REDUCE overcrowding Docs.pdf

21) Report of the Re-Entry Policy Council: Charting the Safe and Successful Return of Prisoners

to the Community. Council of State Governments. Reentry Policy Council. New York: Council of
State Governments, 2005. http://www.reentrypolicy.org/report

22) New Freedom Commission on Mental Health Report to the President, 2003,
www. mentalhealthcommission. goviindex.html

23) Teplin, LA, Abram, KA, & McClelland, GM (1996) Prevalence of psychiatric disorders among
incarcerated women: |. Pretrial jail detainees. Archives of General Psychiatry, 53, 505-512

24) Mark R. Muntz, MD & Patricia A. Griffin PhD.,”Use of the Sequential Intercept Model as An
Approach to Decriminalization of People with Mental Illness,” PSYCHIATRIC SERVICES ¢
ps,psychiatryonline.org @ April 2006. Vol. 57 No. 4

25) ‘Criminal Justice Mental Health Consensus Project, Council of State Governments. Criminal
Justice / Mental Health Consensus Project. New York: Council of State Governments. June 2002.
Web citation: Consensusproject.org

26) National GAINS Center, Co-Occurring Disorders and Justice Center, Center for Mental Health
Services, Evidence Based Practice and Expert Panel Reports available on website
http://gainscenter.samhsa.gowhtml/

27) US Surgeon General's Report on Mental Health (1999) and US Surgeon General's Report
Supplement on: Mental Health: Culture Race and Ethnicity (2001)

24

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08. Page -27 of 67

28) Declaration of William Proctor in Support of Motion of Receiver J. Clark Kelso for Order
Adjudging Defendants in Contempt for Failure to Fund Receiver's Remedial Projects and/or for an
Order Compelling Defendants to Fund Such Projects dated August 13, 2008

29) Operational.Guidelines Report, California Health Care Facility, California Prison Health Care
Receivership Corporation dated July 8, 2008

(IN) any exhibits that will be used to summarize or support them;

At this time there are no exhibits attached to support this report.

(IV) the witness's qualifications, including a list of all publications authored in
the previous 10 years;

See attached Resume. | have a Masters in Social Work from San Francisco State University and
have worked as an upper level manager in three California’ County Mental Health Systems from
1981-2008 including holding the position of Mental Health Director in two Bay Area counties for
over 17 years. | have held active leadership roles in the California Mental Health Directors
Association (CMHDA) including serving as President and on the Governing Board and most
recently as Chair of the CMHDA Forensic Committee. Since retiring as.a County Mental
Health/Behavioral Health Director in January 2008, | have provided consultation services to
CMHDA on corrections policy and community corrections issues including the development of
CMHDA legislative testimony regarding AB 900 implementation issues and the LAO’s Parole
Realignment Proposal. | represent CMHDA on various task forces. and committees related to

mental health corrections issues and corrections reform including:

-CA Judicial Counsel: Judicial Task Force on Criminal Justice Collaboration on Mental Health
Issues and serve on two sub-committee regarding Re-entry Services and Co-occurring Mental
Health and Substance Abuse Disorders.

CA State Association of Counties (CSAC) Corrections Issues and Implementation Work Group as
well as the CSAC Administration of Justice Parole Realignment Task Force that was formed to
analyze and respond to the Legislative Analyst Office's 2008 budget proposal to release non-
violent offenders-and realign significant State Parole functions to County Probation Departments.

As Mental Health Director for San Mateo County (5/2001-1/2008) | served on local corrections
related committees and task forces including: Superior Court of San Mateo’s Mental Health Court
Planning and Oversight Committee as well as the Board of Supervisors Criminal Justice
Committee and its Re-entry Sub-committee.

Recent workshop and conference presentations:

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Case 2:90-cv-00520-KJM-SCR | Document 3232-3 Filed 10/30/08 Page 28 of 67

* The Stanford Executive Sessions on Sentencing and | Conrecdons, “Califomia Corrections -
Reform: State/Local Partnerships, panicipant and speaket—3/2007

* From Words fo Deeds IV: Changing the Paradigm for Criminal Justice and Mental Health,
Sponsored by the Council on Mentally Ii] Offenders, workshop maderator-— 2007

° California Mental Health Policy Forum; “Mental Health and Criminal Justice: Serving our
Communities Together’-9/2007

* CSAC Annual Conference, Workshop on AB 900 Implementation, presenter—t 1/2007

* California Mental Health Directors Association All Directors Meeting; organized and panel
presenter on “Community Corrections: Politics, Policy and Preictice” -6/2008

Publications:

Abbott, Beverly, Gale Batallle, Sandra Goodwin, Co-Editors “Women and Mental llineas” The.Joumal of NAMI
Catifgmla, December 1999, Vol.10, No.4, and authors of "Gender Matters”, pg, 4-7.

Bataille, Gale, Ken Anderson and Susan Penner, “Solano County's Experience: A Publio,Privaie Sector Venture in Managed

Mental Health’, Adminigtraon & Pollgy in Mental Health, Jan, 1995,Vol 22, No. 3,

Bataille, Gale, “Peycholherapy and Community Support Community Mental Healt Systems in Transition’, New Directions in
Mental Health Services, 1990, #48, Jossey-Bass, Inc,

Bataille, Gale and Crowell; Areta, “Why-Not Califomia? Qual Olagnosis and Fragmented Care’, Joumal of he Califomia Allance
for the Mentally lll, Winter 1991, Vol. 2, No. 2,

(v) a list of all other cases in which, curing the previous 4 years, the witness
testified as.an expert at trial or by deposition
| have not served as an expert witness or testified at any tral during the,previous A years,

(VI) statement of the compensation to be paid for the stucly and testimony in

_ the case,
| have agreed to a compensation rate of $200. 00 per hour for expert witiess report preparation
including research, review of documents and drafting the report. | have agreed to compensation
rate of $250,00 per hour for expert witness depositions, testimony and related activities.

August 15, 2008

26

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08. Page 29 of 67

EXHIBIT A

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed. 10/30/08

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(10) 224-0248

Page 30 of 67

gale.batallle@mac.com

Gale G. Bataille, MS.W.
Qualifications Senior Executive with over thirty years of experience in planning,
Summary: program: development, administration and financial management of

mental health and alcohol. and drug abuse services and systems.
Education: Masters in Social Work, San Francisco State University, California,

1984, Specialization in Program Operations/Administration

B.A. with Honors in Psychology, Oberlin College, Ohio 1969

independent Consultant, March 2008 — present
Work History: Consultation regarding. mental health and behavioral health policy and

systems development with particular focus on community mental health
systems change processes and criminal justice policy as it impacts local
systems of behavioral health care.

San Mateo Mental Health Division, Health Services Department
Director, Behavioral Health and Recovery Services, May 2001 — Jan.
2008

As County Mental Health Director,. directed all service and administrative
functions of County Mental Health Service and effective 6/2007 mental
health and: alcohol and other drug services with a $115 million budget, over
400 staff and multiple contracted community and institutional services.
Active in statewide leadership functions related to community mental health
policy and services.provision. Retired-2008:

Assistant Director, Mental Health Services, October 2000 — May 2001
Supervised managed care functions including coordination with State
agencies; human resources, contract and budget development
administration.

é

Health and Social Services Department, Solano County, CA
Mental Health Director, 1990 — 2000
Directed County Mental Health Division with a $31 million budget and over

225 staff and contracted community and institutional services. Developed

and implemented California’s first county-operated Mental Health Managed
Care System; implemented services redesign in order to manage risk, insure
access, quality and continuity of services; enhanced community support
services to seriously mentally ill children and adults; promoted consumer
self-help and peer support services; implemented cultural competence plan
cited for excellence by WICHE.

Deputy Director for Alcohol, Drug Abuse and Mental Health Services,
Contra Costa County Health Services. Department, 1984-2000

Supervised three Regional Mental Health Centers, Case Management,

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 31 of 67 ©

Alcohol and Drug Programs with combined budgets-of $25 million; directed
program planning; developed contract monitoring system; designed policy
and program(s) for substance abusing mentally ill persons including award of
Federal demonstration grant (1987) for co-occurring disorders,

Chief of Planning and Evaluation 7/82 — 11/83
Continuing Care Director, 1/81 — 6/82

Bay Area Community Services, Inc., Oakland, California -
Director, Allso House 1974 — 1980

Developed and directed a 15 bed residential treatment facility for seriously
mentally ill adults. President of California Association of Social Rehabilitation
Agencies (CASRA) 1979 — 80.

American Friends. Service Committee, Community Relations Division,
Philadelphia, PA 1972 —1973

Staff to National Woman's Project and consultant to women’s self-help. and
consciousness raising groups.

Health Information Project, Philadelphia, PA, Founder & Staff, 1970 ~1972

Organizational ‘Workshops/Conferences: Presenter and conference’ organizer for
And Professional workshops regarding Community Corrections, Mental: Health Managed Care,
Activities: Co-Occurring Disorders, System Change, Consumer Empowerment and

Self-Help, Wellness and Recovery, Children’s System of Care, Women's
Mental Health and Employment Services for Psychiatrically Disabled Adults.

California Mental Health Directors Association
Emeritus. Mental Health Director member, January 2008- present
President 1995 — 1996;President Elect 1994 -1995; Sec/Tres 1993 —1994
Governing Board/Executive Committee, 1991 - 2000; 2006-2008
Chair, Forensic Committee 2006-2008

~ AB 3632 CMHDA Task Force-2003-present
Future of State Hospitals Committee, Co-Chair with California Department
of Mental Health, 1993 - 1994
Chair, Greater Bay Area Mental Health Directors, 1991 — 1993
Chair, State Hospital Task Force/Long Term Care Committee, 1990 — 1993
Co-Chair, Employment Services Committee, 1989 — 1991

California institute for Mental Health Services
President of Board, 1996 — 2000; Board of Directors, 1993 — 2006

Center for Multicultural Development. Advisory Committee, May 2000 —
present

Mental Health Consumer Concerns, Inc., Board of Directors, May 2008 -
present

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed -10/30/08

Professional

Publications:

California Mental Health Planning Council, 1996 ~ 2000

Appointed: 1/96, . Executive Committee, Chair; Policy. and Planning
Committee, 1/2000 -- 12/2000

’ Women’s: Mental Health Policy Council, founding member, Steering

Committee; 1998 — 2005

American College of Mental Health Administration, Fellow, 1997—
present

Governors Committee for the Employment of Disabled Persons,
Appointed member, 10/93 — 3/96

State Department of Mental Health/State Department of Alcohol: and: Drug

Programs Dual Diagnosis Task Force, member, 1994 — 1997

Solano County Children’s Policy & Planning Committee, 1993 — 9/2000
Juvenile Justice Coordinating Council, Solano County, 1997 ~ 9/2000
Community Cancer Task Force, Coalition for Better Health, 1997

Robert Wood Johnson Foundation, Fighting Back Partnership, Vallejo,
California, Steering Committee,: 1991 ~ 1993

Abbott, Beverly, Gale Bataille, Sandra Goodwin, Co-Editors “Women and
Mental Illness" The Journal of NAMI California, December 1999, Vol.10, No.

'4., and authors of “Gender Matters”, pg. 4-7.

Bataille, Gale, Ken Anderson and Susan Penner, “Solano County's
Experience: A Public-Private. Sector Venture in Managed Mental Health”,

Administration & Policy in Mental Health, January 1995, Vol 22, No. 3.

Bataille, Gale, “Psychotherapy and Community Support: Community Mental _

Health Systems in Transition’, New Directions in Mental Health Services,
1990, #48, Jossey-Bass, Inc.

Bataille, Gale and Crowell, Areta, “Why Not California? Dual Diagnosis and

Fragmented Care’, Journal of the Califorriia Alliance for the Mentally Ii,
Winter 1991, Vol. 2, No. 2.

Page 32 of 67

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 33 of 67

EXHIBIT M

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-Cv-00520-KJM-SCR’ Document 3232-3 Filed 10/30/08 Page 34 of 67
IN THE UNITED STATES DISTRICT COURTS
FOR THE EASTERN DISTRICT OF CALIFORNIA
AND THE NORTHERN DISTRICT OF CALIFORNIA
UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

RALPH COLEMAN, et al.,

cERTI FED COPY

Plaintiffs,

No. CIV 890-0520
LKK-JFM P
THREE-JUDGE COURT

vs.

ARNOLD SCHWARZENEGGER, et al.,

Defendants.

MARCIANO PLATA, et al.,
Plaintiffs,

Oo. €01-1351 TEH
THREE-JUDGE COURT

vs.
ARNOLD SCHWARZENEGGER, et al.,

Defendants.

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DEPOSITION OF
JAMES GILLIGAN, MD
SAN FRANCISCO, CALIFORNIA
SEPTEMBER 19, 2008
‘ATKINSON- BAKER, INC.
COURT REPORTERS
800.288.3376
REPORTED BY: DAWN A. STARK, CSR NO. 784/77]

FILE NO. A207E46

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D-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 . Page 35 of 67

Feel free to take a look at it (indicating).
A. Uh-huh.
(Witness reviewing document.)

I'd say that's up to date, yes.
Q. Okay. No more ~-- I'll strike that.

Were there any publications of any articles
written or authored by you since this curriculum vitae
was provided to us in August 2008?

A. No.
Q. .I just want to kind of ask you a few questions
about your background.

First, I noticed, in your expert report, that
you indicated that you established a clinical director
position for Prison Health Services around that time; is

that correct?

A. That's "Prison Mental Health Services".

Q. "Prison Mental Health Services"?

A. Yes.

Q. . In establishing that position, does that mean

that you actually served in that position?
A. Yes.
I was the clinical director of the Prison

Mental Health Services for the Department of Correction

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of the State of Massachusetts.
,
O. And at the time you established that position

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-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 36 of 67

Is this person dangerous? Should the person be

evaluated for competency to stand trial? Should the
person, you know, be evaluated as to whether they can be

held criminally responsible?

Q. Forensic evaluations?
A. Forensic evaluations, yes.
Q. Do you know if the system of providing mental

health care to parolees at these state department mental
health clinics is still viable in the State of

Massachusetts today?

A. You know, I probably shouldn't attempt to say,
because I've -- you know, I'm no longer working within
Massachusetts.

I've been in New York for the last several
years, so I probably shouldn't even try to answer that.

Tt's possible changes have occurred that I'm
just not aware of.

Q. The last time that you worked in that field of
providing mental health services to inmates, other than
the Massachusetts Department of Corrections, then, was
from 1982 to 1991?

A. Well, actually, I ran the prison Mental Health
program _- sorry, I ran the Bridgewater state hospital,
as medical director, from 1977 to 1981.

Then I ran the Prison Mental Health Service

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O-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 37 of 67
from 1982 to ‘91.

In 1992, I then became director of the
Bridgewater Hospital.
Even in prior years, from 1967 to 1977, I did
part-time work, first as a psychiatric resident in prison
psychiatry, and then as a supervisor for psychiatric
residents who were working in a prison mental health
program that was established before the court orders that
began to take place only in the late 1970s.

Q. So, what I'm seeing on your CV, which is in
Appendix A of your report, is December '91 to
December '92, medical director, Bridgewater State
Hospital and Center for the Study of Violence?

A. Uh-huh.

QO. When it says "medical director," I have to
wonder: Does that mean that you provided or ensured the
provision of medical care to the patients of Bridgewater
State Hospital as opposed to mental health care?

A. Well, we -- actually, I think the most accurate
answer to that would be no, in the sense that the term
"medical director" referred to the psychiatrist-in-chief,
but there was a separate medical team that was
responsible for providing straight medical care.

Q. Did they report to you?

A. How did that work?

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No. They’ were independent of me. They had a
separate contract with the Department of Correction.

So, they reported to the Department of
Correction and -- for some of that time, as I recall, I
believe they also -- well, I know I reported to the
Federal judges, not to the Department of Correction.

I believe the medical -- the medical staff
reported to the -- well, it would have been either the
judges or the Department of Correction.

I'm actually not sure.

Q. Okay.

A. That was --

Q. TI understand.

A. ~- not my job. )

Q. In the course of your work in Massachusetts and

New York and elsewhere, have you ever had the opportunity

to work with J. Michael Keating, Junior, on any

correctional issues?

A. Not that I can recall.

Q. It doesn't sound familiar to you?

A. No.

Q. Okay. I just thought T'd ask you. Apparently,

you both occupied a Similar territory in a similar part

of the world.

Now, I notice that at one point, you indicated

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D-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 39 of 67

No, there were no orders, that I'm aware of,
from the courts to release, say, a particular fraction of
the prison population or to reduce the population to a
particular number.

BY MS. TILLMAN:

Q. Was there any discussion about doing so with
the courts?

A. Let me think.

Iocan't recall anything that would fit that
description or that definition.

Q. Okay.

A. I mean, I was constantly involved in -- both in
the state mental hospital, but also in the prison, in
engaging in psychiatric evaluations, or supervising the
ones that did occur, of prisoners, one at a time, as to
whether or not they could safely be ~-- either leave the
State mental hospital or leave the prison.

I mean, there were occasions when people were
about to leave, and I would be asked by the correctional
staff or by my colleagues in the Prison Mental Health
Service to evaluate somebody who people were concerned
might be actively mentally ill and/or, you know, say,
dangerous to others or self by virtue of mental illness,

and evaluate whether the person might need inpatient

care, for his safety or the safety of the public.

31

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-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 40 of 67

a way somewhat similar to this report (indicating) .
Q. Okay.
A. I mean, if you go on Amazon.com, it was listed

as a book, but it was really more like a pamphlet.

Q. Was it subject to any peer review?
A. No.
Q. When you did this research to prepare this

book, were you in contact with any employees of the
California Department of Corrections and Rehabilitation
on this issue?
A. Oh, yes.
I talked with many people, from the secretary

of the department on down --

Q. Okay.
A. -- as well as to many legislators, yes.
Q. Did you undertake any tours of any CDCR

facilities in the preparation of this book?
A. I'm trying to recall.

T don't believe I did that, that I can

recall --
Q. Have you ever --
A. ~- in California.
Q. I'm sorry.

Have you ever visited any California Department

of Corrections and Rehabilitation jail facility or prison

Case 2:490-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 41 of 67

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facility?
A. No.
MR. GALVAN: Objection. Compound, jail or

prison. \
THE WITNESS: Jails, I've visited very

extensively; the San Francisco jails and also the
Los Angeles County jail.

I was called in as a consultant when they were
having one of their more serious riots. I think it was a
couple of summers ago.

So, I've been in both San Francisco and
Los Angeles jails, including, at cimes, when they were in
the state of emergency crisis.
BY MS. TILLMAN:

Q. Have you been in any state prisons?

A. I don't believe I've been in any state prisons,
that I can recall.

Q. Have you been in any of the state mental health
hospitals operated by the bepartment of Mental Health or
the State of California?

A. No -- I'm trying to recall.

I know I've talked with people who have worked
in those settings about their work, but I haven't been
inside them.

Q. Have you had any discussions with Jean Woodford

36

Case 2:9
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-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 42 of 67

about this San Francisco experiment on violence and
prevention in the San Francisco County jails?

A. Well, it would depend on which experiment you

g

were talking about.
The one I was involved with was called "RSVP,'
the Resolve to Stop the Violence program.
Q. Okay. Did you have conversations with Ms.

Woodford about that?

A. I don't recall her name.

Q. Okay.

A. The person I worked with most closely were the
people -- well, first of all, the sheriff, Michael

Hennessey; the assistant or associate sheriff, Michael
Morgan; and the director of programs, Sunny Schwartz.

QO. Was there any experiment, that you were aware
of and a part of, to reduce violence in the San Francisco
County jails, other than RSVP?

AL No. That was the only one that I was involved
with.

Q. Are you aware of whether RSVP is still being
implemented in the San Francisco County jails?

A. There was a follow-up and attempt to apply and
adapt the RSVP model to female inmates in the jail, and
as I recall, there's kind of an attenuated version of

RSVP that is continuing.

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-Cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 43 of 67 |

A. I am not aware of any reason to question the
clinical judgment of the people who were categorizing
them.

I used the data that they used.

Q. Okay. When we speak of the immediate release
of 15,000 inmates, with possibly 21 percent of them from
the Coleman caseload, do you have any concerns about the
release of the mentally ill offender who is in an acute
care bed within a state hospital?

A. Again, I'm not sure I'm understanding.

You're talking about people in the prison or
people in a DMH hospital?

Q. In a DMH hospital, who would be subject toa
prisoner release order.

A. Well, I want to say my concern would be that if
their legal status was changing from being a prisoner to
not being a prisoner, that, itself, wouldn't change their
mental status.

I would take it for granted that the Department
of Mental Health hospital would make an evaluation as to
whether the person was dangerous to him or herself or
another by reason of mental illness.

If they determined that that was the case, they
would petition the court to have the person committed to

the hospital, unless the person voluntarily agreed to --

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. parole?

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Q. Is that what happens in New York?
A. That's what happens in Massachusetts.
Q. Are you familiar with the

Lanterman-Petris~Short Act?

A. Iam not, no.

Q. Are you familiar with whether or not the
Department of Mental Health of the State of California
has the ability to petition the court for an involuntary

commitment of a state prisoner before they're subject to

MR. GALVAN: Objection. Calls for a legal
conclusion.

You can answer.

THE WITNESS: I would say that's actually not
what I'm talking about.

I'm talking about what would happen after they
were no longer under the surisdiction of the parole board
or the Department of Correction.

BY MS. TILLMAN:

Q. Tf a prisoner release order from the
Three-Judge Panel issued, is it your belief that those
California Department of Correction prisoners who are
receiving mental health care at an acute level within the

Department of Mental Health hospital should not be

subject to immediate release?

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0-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 45 of 67 ~
A. T'm not saying that across the board, but I'm

saying I would hope that it would depend on the mental
status and the behavioral status of the person
involved.

Q. Would that be true, also, for the members of

the Coleman class who,’ at the time of a prisoner release

| order, are receiving Enhanced Outpatient Program care

within a California Department of Corrections and
Rehabilitation prison?

MR. GALVAN: Objection. .Vague and ambiguous as
to what "that" is.
BY MS. TILLMAN:

QO. You spoke of an individual evaluation before,
having a prisoner being released as part of an immediate
prisoner release order?

A. Uh-huh.

Q. Would you expect that evaluation to be
conducted on every mentally ill. patient within the
California Department of Corrections in implementing any
prisoner release order?

A. I would assume that it would be likely to be
required of EOP patients.

Let me go back a step and say: What I'm

talking about is something that I would hope would apply

to any individual who comes into contact with the mental

46
Case 2:9
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D-cv-00520-KJM-SCR © Document 3232-3 Filed 10/30/08 Page 46 of 67

not defendants should abandon the plan to create more
mental health beds at particular sites and simply go
full-speed ahead on providing the type of resources that
we saw in Massachusetts for the diversion and community
treatment of mental health offenders?

A. If I'm understanding your question correctly,
and stop me if I'm not, I would strongly recommend that
the emphasis be on trying to treat the mentally ill
within the mental health system rather than diverting
them to the correctional system.

If the state were going to build mental health
treatment facilities or outpatient clinics, I would
strongly hope they would do that within the mental health
framework rather than a correctional framework.

Q. Are you aware of any particular county in the
State of California that will receive a higher level of
parolees than any other county?

A. I'm not specifically aware of numbers, but I
would say I wouldn't be surprised if there weren't
differences, based on the populations of different
counties, if they're different, but just as much the
different. socioeconomic characteristics of the different
counties, to the extent those exist.

I can't break it down, though. I don't know

California in that much detail.

79

Case 2:90-cv-00520-KJM-SCR = Document 3232-3 Filed 10/30/08 Page 47 of 67

“1 | review during today's deposition. —

2 MR. GALVAN: You can still answer.
3 THE WITNESS: I'd have to say I just don't know
4) for sure.

5 I mean, as I say, these names begin to be a
6} little bit of a blur.
7 MR. GALVAN: Okay. New subject.

8 Q. Are you familiar with general principles behind
9 | civil commitment laws for the mentally ill?

10 A. Yes.

11 MS. TILLMAN: Objection. Vague and ambiguous
12 |} as to which state.

13 . MR. GALVAN: Okay.
14 Q. Are you familiar with the national movement --
15 | with any national movement, at any time, to enact civil
16 | commitment laws for the mentally ill?
17 A. Well, I know the American Law Institute came up
18 | with a series of standards, probably four decades ago or
191 so, which were applied in almost all of the 50 states.
20 Q. What are the basic principles of those
21] standards?

22 A. They often use exactly identical language.
23 QO. Okay. Under those standards, what are the
24 | basic criteria for committing someone?

25 A. Well, somebody -- I mean, the basic principle

186

Case 2:40-cv-00520-KJM-SCR | Document 3232-3 Filed 10/30/08 Page 48 of 67

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is that somebody is so disabled, by reason of mental
illness, that they are a danger to themselves or

others.

Q. Do you make it a point to know the exact names

of every statute in all 50 states that have been

developed under those principles?
A. No.

Q. Did you review any information to show that

there are now any number of parolees being released into

the population with mental illness? 7

A. Yes.

Q. Did you develop any opinions as a result of
reviewing that information?

A. Well, what it led me to think is that the
status quo is that mentally ill parolees are being
released into the state all the time, and I mean by the
thousands.

The problem with that, that I'm concerned
about, is that because they are turning in and out --
they're like ping-pong balls.

I mean, they're going back and forth between

the parole board system in the community and the prisons.

They spend an average of four months in the

prisons when they return.

They wind up spending a much longer time in the

187

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 ‘Page 49 ofl@2

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-REPORTER'S CERTIFICATION

I, DAWN A. STARK, CSR No. 7847, Certified
Shorthand Reporter, certify:

That the foregoing proceedings were. taken
before me at the time and place therein set forth, at
which time the witness was put under oath by me;

That the testimony of the witness, the
questions propounded, and all objections and statements
made at the time of the examination were recorded
stenographically by me and were thereafter transcribed;

That the foregoing is a true and correct
transcript of my shorthand notes so taken.

I further certify that I-am not a relative or
employee of any attorney of the parties, nor financially
interested in the action.

I declare under penalty of perjury under the
laws of California that the foregoing is true and
correct.

DATED this \=" day of O choubbe— =, 2008.

pS te =

DAWN A. STARK, CSR No. 7847

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 50 of SF

REPORTER'S CERTIFICATION OF CERTIFIED COPY

T, DAWN A. STARK, CSR No. 7847, a Certified
Shorthand Reporter in the State of California, certify
that the foregoing pages 1 through 193 constitute a true
and correct copy of the original deposition of JAMES
GILLIGAN, MD, taken on September 19, 2008.

IT declare under penalty of perjury under the
laws of the State of California that the foregoing is

true and correct.

DATED this (™* day of Qckle._ + 2008.

too —

DAWN A. STARK, CSR No. 7847

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 51 of 67

EXHIBIT N

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 52 of 67

REBUTTAL REPORT

OF GALE BATAILLE, MSW

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08. Page 53 of 67

Gale Bataille—Rebuttal to Plaintiffs’ Reports
_ August 27, 2008

(i) Rebuttal and professional opinion regarding Plaintiffs’ Expert Opinion
reports as they pertain to:

1. Plaintiffs assumptions about the characteristics of the Coleman class population and the needs
of these Coleman class prisoners for mental health and integrated mental health/substance use
treatment if they are released to our communities on parole.

2 The potential impact of a prisoner release order on public safety given various potential prisoner
release scenarios envisioned by the plaintiffs;

3. The capacity of California's mental health programs to meet the needs of Coleman class
parolees as well as the needs of the general population of released prisoners who may experience ~
mental health needs. | will discuss my opinion that Plaintiff's expert witnesses do not appear to
have sufficient or current knowledge of the capacity—or more importantly, California's lack of -
resource capacity to meet the needs of released Coleman class prisoners in the following areas of
mental health services: CDCR parole outpatient clinics; State Department of Mental Health
programs; county and private psychiatric emergency services and acute psychiatric and chemical
dependency inpatient hospitals, and county operated or contracted community mental health and
mental health/substance abuse services;

4. Additional recommendations regarding potential strategies and services to more effectively and
safely reduce the population in California's prisons including plans described by CDCR, CSAC,
CMHDA and several legislative initiatives.

| have reviewed Plaintiffs expert witness reports by James Gilligan, M.D.; Joseph Lehman; James
Austin PhD; and Pablo Steward M.D. In addition, | have reviewed the reports of County
Interveners—San Mateo County and Santa Clara County and Defendants’ expert witness, James
Marquart, Ph.D. My comments and expanded opinions are based on references cited in my report
submitted on August 15 as well as a June 25, 2008 updated report on psychiatric bed closures
from the California Hospital Association’s Center for Behavioral Health and telephonic
communication with representatives of the California Mental Health Directors Association.

1. Plaintiff's assumptions about the characteristics of the Coleman class
population, including violence potential and the needs of these prisoners for
mental health and integrated mental.health/substance use treatment if they are
released to our communities.

Dr. James Gilligan provides extensive comment on the characteristics of mentally ill prisoners,
what is known and generally accepted in the literature about the prevalence and predictors of
violence among individuals with mental illness in.comparison with the prevalence and predictors
and. of violence in the general population. Dr. Gilligan poses the question: (paragraphs 34 ff.) Are
mentally ill offenders (MIO's) as a group more dangerous than non-MIO offenders? He cites a
research study (unpublished manuscript) of California parolees (#36) that concludes mentally ill

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 54 of 67

offenders are no more likely than non-mentally ill offenders to commit violent crimes after release
from prison. He further cites and discusses a meta-analysis (Bonta and Hanson, 1998.) that finds
persons with severe mental illness were neither “more nor less likely than the non-mentally ill to re-
offend” and that individuals with certain serious psychiatric disorders including schizophrenia and
major depression are actually less likely to re-offend with only a modest increased risk of violence
among paroled mentally ill offenders that is related to other risk factors including past violence.

In my career as a County Mental Health Director, | have had extensive experience in locating and
implementing mental health services in community settings. | have often had to. confront public fear
and distortions regarding the violence potential of individuals with mental illness and | have made
many of the same arguments and cited much of the same research that Dr. Gilligan references.
However, there are certain characteristics and environmental factors that do correlate with
increased violence potential of persons with mental illness as well as those with criminal justice
involvement and the general public. As is acknowledged by Dr. Gilligan, “Criminal history,
antisocial personality, substance abuse, and family dysfunction” were the most powerful
predictors [of violence,] in mentally ill and non-mentally ill parolees, While, there are common
predictors or correlates of future criminal behavior for mentally ill and non mentally ill populations,
Dr. Gilligan and the other Plaintiffs experts generally fail to discuss and take into consideration
that there is an extremely high rate of co-occurring substance abuse within the mentally ill
justice involved population—at least 75 % of mentally ill prisoners. [Note: | provided an
extensive discussion of this issue in my 8-15-08 Expert Opinion.] The use/abuse of alcohol and
other drugs is often a trigger and antecedent to psychiatric de-compensation that may lead to
(brief) psychotic episodes and as noted by Bonta and Hansen (pg. 139) “Hallucinations and
delusions may trigger anti-social acts in the immediate situation and have high predictive validity in
the short-term...however such symptoms may have little predictive validity in the long term.” One of
the few other predictors of future violence is a prior history of violence. Itis reasonable to assume
that mentally ill individuals who are incarcerated in the state's correctional facilities have a
significantly higher rate of prior violence in their histories than individuals with mental illness who
live in our communities.

My intention in raising these concerns is not to argue that mentally ill prisoners are violent and
should not be released. Rather, | would argue that it is critical to develop a clear understanding of
the risks and characteristics of the mentally ill prisoner and parole population and to responsibly
plan to meet the supervision, treatment and rehabilitation needs of this population when they are
released into the community. Even if we accept the general conclusion of Dr. Gilligan that there is
no greater risk of violence in the seriously mentally ill parolee population than among other
parolees, any episodes of violence committed by mentally ill parolees will be magnified by the
press and can be expected to lead to disproportionate fear and discriminatory responses by the
public. It is almost inevitable that there will be such community incidents in the future—just as it is
inevitable that there will be violent acts committed by parolees who are not mentally ill. | am
concerned that in his effort to combat over-blown stereotypes of violent mentally ill persons, Dr.
Gilligan fails to adequately acknowledge the population risks that exist. and fails to adequately
advocate for effective plans or services to address the needs of seriously mentally ill parolees. The
question that must be considered is whether the Courts, the State and local mental health systems
will be able to say to the public when a mentally ill parolee commits an act of violence (as will
inevitably occur)--that this incident must be understood as a rare exception, no more likely to
happen than an incident of violence in the general public, because State and local mental health

Case 2:90-cv-00520-KJM-SCR © Document 3232-3 Filed 10/30/08 Page 55 of 67.

systems have been put in place to insure needed supervision and treatment. In my opinion we are
not in a position to make that assertion.

2: What elements should be included in prisoner release order that appropriately
considers public’ safety in light of prisoner release scenarios envisioned by the
Plaintiffs?

Plaintiff's expert witness reports generally concur that a prisoner release order including Coleman
class prisoners can be safely implemented if there is a range/types of services in place to provide
appropriate supervision, community support and mental health services to parolees. What is
lacking j in all of the Plaintiff's expert reports are specifics that either demonstrate that adequate -
services are in place or that there is an adequate plan to have these services in place prior toa
Coleman class prisoner release.

Gilligan Opinion--Dr. Gilligan asks: “Would a prisoner release order that includes an incremental
decrease in length of stay or diversion of mentally ill offenders adversely impact safety?” He
concludes (16, b) that a responsible prisoner release program that provides the basic elements of
treatment and support to mentally ill offenders—including pre-release planning, access to care in -
the community including services to individuals with co-occurring mental illness and addiction
would not adversely impact public safety. Dr. Gilligan argues that a responsible release plan
would reduce the “churning” of mentally ill prisoners that results in short incarcerations with.
prisoners emerging “sicker than when they went in” and acknowledges that "without adequate
plans for treatment services in the community this “churning” will continue. (# 25) He comments
positively on his experience with a 1997-2004 program for violence reduction conducted with San
Francisco County's correctional facilities that resulted in a 100% reduction in institutional violence
and 83% reduction in re-arrest for violent crimes. However, good results for a pilot program in San
Francisco County--which has an exemplary jail mental health service, has been a leader in
supporting community based services and has greater access to resources than most California
counties, don’t translate to other California counties.

We must consider the impact if the numbers of seriously mentally ill parolees are increased under
a Coleman release order. Dr. Gilligan states that large numbers of individuals are already.
recidivating--over 6000 per year, This is a reflection of insufficient and inadequate treatment
services for CCCMH and EOP parolees.

What Dr. Gilligan fails to provide in his expert opinion is any real data that proves that California
has a plan, is prepared, or capable of providing supervision, community mental health/substance
abuse treatment and support services that would constitute the “responsible prisoner release
program” that he supports.

Austin Opinion--James Austin discusses the problems with California’s “catch and release
program” that results in a high rate of technical parole violations and high re-incarceration rates.
Austin argues that imprisonment of parole violators “actually worsens public safety because it
disrupts any effort to stabilize parolees and the communities in which they reside.” Austin
discusses various methods for diversion and sentence reductions, and argues using data from

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08. Page 56 of 67

Amador, Fresno and Los Angeles counties, that there would be.a minimal impact on local jails and
corrections systems, In my experience working in three counties (Contra Costa, Solano and San
Mateo) even the “minimal” effects that Austin describes would have serious consequences for

~ California's counties overcrowded jails and high probation caseloads. Austin argues, “Ifa
diversion program is implemented simultaneously with providing evidence-based programming,
public safety might actually improve because research shows that technical parole violators and
low-risk offenders have higher recidivism rates. when incarcerated, and lower recidivism rates when
provided appropriate evidence- based programming in the community.” (#91- “pg. 39)
In my opinion, Austin provides no evidence that such diversion programs are in place and he fails
to address the impact on public safety if adequate diversion plans and resources are not in place
prior to-a prisoner release.

Lehman Opinion—Joseph Lehman offers his opinion that prison over-crowding can be reduced
while maintaining public safety through implementing recommendations contained in CDCR’s
Expert Panel to Reduce Overcrowding where he served as Chair of the Model Program Sub-
Committee. Included in the recommendations he cites is the importance of developing
partnerships between state.and local corrections agencies, | would add that these partnerships
must be expanded to include partnerships with counties and their network of mental health, health
and social services agencies that will be impacted and may be called upon to play key roles in
serving released Coleman class prisoners. Lehman provides no opinion about the progress that
the State has made in implementing these. Model Program recommendations, nor does he identify
which of these recommendations must be implemented in order to implement an effective prison
population reduction plan that will maximize safety for released seriously mentally ill parolees or
the public.

Stewart Opinion--Pablo Stewart, M.D. states that “the State can include the Coleman class in
population reduction plans without adversely affecting public safety and should do so. Moreover, if
the State enhanced the services provided to released individuals, public safety would improve.”
(Part 02, Opinion 3, pg. 3) He goes on to state: “When considering the public safety impacts of
such a program,...it is important to understand who these individuals are and what systems
already exist in the community.” Dr. Stewart documents in extensive detail that poor mental health
care in CDCR prisons actually means that accurate assessments—including diagnosis, level of
care needs and risk assessments, are not available for prisoners who may be released to
community parole status under a Coleman class release. According to Stewart:

e “The severe shortage of mental health beds has created a system that houses a significant
portion of Coleman class members at lower levels of care than the patients clinically
required. A significant number of class members who | interviewed atthe EOP level of

_ Care, for instance, required inpatient psychiatric hospitalization. ...1 was struck by the very
high acuity of the patients | encountered during my tours because they were much sicker,
as a whole, than the Coleman class members | encountered between 1990 and 2000.” (#
88, pg. 36-37) Dr. Stewart provides examples of cases of prisoner who are classified as
Coleman class seriously mentally ill but “where medical files fail to note Dementia due to
HIV disease and Cognitive Disorder NOS” (89 a./b.) as well as serious medication non-
compliance issues (99) and problems with medical records, (102)

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 57 of 67.

In my opinion, Stewart's assessment of conditions within CDCR prisons logically leads to the
question of why the Court, counties or our communities should be in any way assured that we have
adequate information about the needed level of community treatment supports for a Goleman
prisoner release. According to Stewait, prison conditions of overcrowding, incomplete diagnoses,
lack of access fo treatment and placement at the appropriate levels of care, lack of appropriately
prescribed and monitored medications has led to a population whose symptoms and severity is
increasing and worsening. These conditions in CDCR operated prisons, as disturbing as they are,
faise very serious questions about who might be released in a prisoner release program and
whether CDCR-POC or other contracted providers would be prepared to offer the necessary
treatment and supervision need to insure both parolee safety and access to appropriate care—and
potentially community safety.

Dr. Stewart discusses the various levels of care that are provided to Coleman class prisoners
(CCCMS, EOP...) in the prisons and cites CDCR Program Guide Standards of Care that
“recognize that there is a spectrum of needs within the CCCMH group and that in the community
CCCMH individuals would need parallel levels of treatment, with many needing medication and
follow-up, and some who would benefit from additional case management that would include
assistance with accessing community mental health services, substance abuse treatment, housing,
benefits and employment..., Just as in prison, the vast majority of parolees will rarely require more
intensive levels of mental health care such as crisis care, day treatment or hospitalization, in the
community. " (#133) Dr. Stewart goes on to state that far smaller number of EOP parolees can be
expected to require more intensive levels of care. | do not understand how Dr. Stewart can make
any assumption regarding the number and needs of EOP parolees given his previously cited
critique of classification/diagnosis and care in the prisons.

| would concur with the general description of the range of services described by Dr. Stewart as
necessary to treat and stabilize CCCMH and EOP parolee populations with several key exceptions:

--It cannot be assumed that the standards of care and clinician ratios in
correctional facilities should. appropriately be applied to community settings—and
in fact as | documented in my 8-15 opinion, CDCS POC caseloads exceed those
in California's prisons—not a standard to be emulated.

--Dr. Stewart cites day treatment as a service that should be provided, yet day
treatment is not considered state of the art treatment in.contrast to Assertive
Community Treatment (ACT) or intensive rehabilitative and wrap around services--
which are. In addition he does not provide adequate discussion of the need for
integrated services for co-occurring mental health/substance abuse disorders
when it is generally understood that individuals with serious mental illness and
substance use/abuse usually fail—or are not accepted in traditional drug treatment
programs. Based on prevalence data at least 75% of CCCMH and EOP parolees
will have-co-occurring substance use/abuse.

--Neither Dr. Stewart nor any of the other Plaintiffs’ experts provide an adequate
discussion/description of the critical need and lack of availability of integrated
services for seriously mentally ill individuals with co-occurring substance abuse
disorders.

~ Dr. Stewart appears to imply (or assume) that there are adequate and
appropriate resources in the community for effective outpatient level of services to
the CCCMS Coleman class of parolees. However, | have demonstrated in my

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 © Page 58 of 67

8/15 opinion (Ref: pg. 8) that the POC does not have sufficient staffing to provide
adequate outpatient and case management services to the current parole
population.

Dr. Marquart, an expert witness retained by Coleman Defendants states: “However diversion,
without the proper community support systems will simply lead to additional recidivism.” (PG 14)
And, “...prior to any release order, there must be the proper infrastructure established to handle the
already burdensome workload in the parole division and in probation... The ripple effect of a blanket
release order will severely strain county level mental health departments, county alcohol and drug
treatment programs, housing, and foster additional competition for jobs in local communities, as
well as strain local criminal justice, systems, especially county jails. (PG 15-16.) Marquet
discusses the Texas experience with prison caps and prisoner releases detailing the negative
impacts on local jails, communities and community safety. Does California want to emulate the
failed Texas program?

My greatest concern with the opinions of Drs. Gilligan, Austin and Stewart is that simply asserting
that seriously mentally ill prisoners can be safely released if there is a “responsible release
program” (Gilligan) and basic agreement among experts that a spectrum of services is required
(Gilligan, Austin, Stewart) provides no assurance that a plan is in place or that services exist to
support a Coleman class prisoner release program. Further, | have seen no documentation or
quantification of the range and numbers of providers.and programs that would be required. Dr.
Stewart asserts that local systems are in place to provide the needed services to Coleman class

- released prisoners—though he does acknowledge that these programs are under-funded and
would “benefit from a significant increase in their resources. The fact that several Regional Parole
Administrators has initiated efforts to reach agreements with providers in their regions (Stewart,
141-143) for parolee services is laudable—but woefully inadequate to address the true task at
hand. _

3, California does not have accessible and adequate mental health programs
to meet the needs of Coleman class parolees under an expedited prisoner
release

California does not have the current capacity to meet the supervision, mental health or other
community support needs if there were a prisoner release of 15,000-40,000 or more prisoners
including Coleman class prisoners. | have presented information in my 8-15 Expert Opinion
regarding California's lack of adequate mental health care for our current populations of seriously
mentally ill adults—both those who are under the care-of counties and those who are treated
through the Parole Outpatient system. | will not reiterate this information but | will provide
additional data to demonstrate the severity of this crisis in accessibility, availability and
appropriateness of care. However,-my overriding concern is that Plaintiffs’ expert witness reports
provide inadequate support and guidance to support the Court’s decision-making due to:

e Extremely limited (or outdated) knowledge of the structure and institutional responsibilities
of the various partners in California’s system of institutional and community mental health
care .

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 59 of 67

e And, demonstrate.no knowledge or understanding of the capacity—or more importantly,
California's lack of resource capacity to meet the needs of released Coleman class
prisoners in the following areas of mental health services: CDCR parole outpatient clinics;
State Department of Mental Health programs; county and private psychiatric emergency
services and acute psychiatric and chemical dependency inpatient hospitals, and county
operated or contracted community mental health and mental health/substance abuse
services.

(a) What systems/agencies are responsible for the provision of basic and intensive
(including hospital) care to seriously mentally ill parolees?

| discussed this question at some length in my 8-15 opinion (Bataille Section 2.a. (pg 6)). | am
concerned that in particular, Dr. Stewart states: “It is my understanding that some public mental
health treatment providers currently refuse to provide treatment to parolees because there remains
confusion and disagreements about whether the county or the State is responsible for paying for
mental health care for these persons.” (Stewart # 136) Or. Stewart then goes on to discuss the
“Mentally Disordered Offender-MDO law” and LPS Conservatorships as avenues for care that
would address issues regarding treatment responsibility for seriously mentally ill parolees.

e MDO programs are State Department of Mental Health operated (state hospitals) or
contracted with either counties or community agencies for mentally ill offenders who are
conditionally released from state hospitals-CONREP. Counties are not required under
statute to operate CONREP programs though some have chosen to do so under state
contract. Whether the State Department of Mental Health (DMH) could be funded and
legally expand the definition of the MDO population to include a broader class of Coleman
class prisoners/parolees is a question that should be posed to DMH.

© With regard to the use.of LPS conservatorships, it is my experience and understanding
that counties/local jurisdictions are generally very reluctant to place individuals who remain
on parole on.LPS conservatorships. Individuals may be held under LPS for a 5150
evaluation and initial treatment period in an inpatient setting as.a danger to
themselves/others or gravely disabled—but | believe it is extremely rare for parolees to
have a concurrent parole status and an LPS conservatorship related to a “grave disability’.
The filing of an LPS conservatorship and the resulting institution of a public or private
guardianship process is really not appropriate-or necessary in a circumstance where the
custodial responsibility is established through the criminal courts and parole. County
mental health systems and the LPS civil commitment door is the wrong “door number one”
to knock on for services to seriously mentally ill parolees.

Community mental health services are structured and based on voluntary participation—even
when individuals are participating in mental health services as probationers through the guidance
‘of a mental health court. County mental health systems are not bound by conditions of parole
unless they are providing services to parolees under a contract with CDCR. There are several
counties that are negotiating with CDCR to provide parolee services—but these services are
separate and distinct from core county mental health services in their eligibility criteria and would
receive direct funding from.CDCR (with the exception of insuring access to Medi-Cal revenues).

Case 2:90-cv-00520-KJM-SCR | Document 3232-3 Filed 10/30/08 Page 60 of 67

Dr. Stewart further cites (#140).the Coleman Court in its August 8" order and states that “these
laws can be used to ensure that public safety considerations are met when releasing or diverting
mentally ill offenders from-prison.” In my 8-15 opinion (pg..12) | raise a number of concerns related
to the implementation of the Valdivia order. Those questions remain but it is not simply a matter of
whether CDCR POC and counties understand and comply with this guidance—it is equally a
matter of whether it is actually even possible to provide timely access to 5150 acute psychiatric
admissions of mentally ill parolees.

(b). Access to acute psychiatric and chemical dependency inpatient care has dramatically
declined from 1995 to 2006.

A June 25, 2008 updated report of the California Hospital Association's Center for Behavioral
Health provides dramatic-and disturbing data regarding the decline in psychiatric inpatient beds in
California from 1995-2006 as follows:

e Inpatient psychiatric beds have dropped from 9353 to 6424: a 31.3% decrease and only
5515 of those beds serve adults.

e Inpatient chemical dependency beds have: dropped from 1400 to 818 for a 41.6%
decrease

e This drop in bed numbers is paralleled by a decrease in the actual number of facilities:
psychiatric facilities have decreased from 181-142 or < 21.5% and chemical dependency
_ inpatient facilities have decreased from 55 to 34 or < 38.2%

e The National average is 1 psyc. bed for every 2536 people: CA average is 1:5675 and
according to CHA national experts estimate the.need at 1 psyc. bed per 2000

e Chemical dependency beds compare at national average of 1bed:39,336 while CA has 1
CD bed:44,569

The availability of beds is also not distributed to insure geographic accessibility with 25
counties having not public or private inpatient beds. This data including charts regarding
number and type of beds by county can be accessed at:

http://www. calhealth .org/public/press/Article/107/CBH_ PsycBedClosures.pdf.

(c) Plaintiffs expert opinions on access and resources available for community mental
health outpatient treatment of seriously mentally ill parolees

In particular both Gilligan and Stewart appear to assume that community mental health services;
integrated services for persons with co-occurring mental health and substance use disorders, and
the range of community support services—particularly housing, either are available or could readily
be increased if funding were provided. This is simply not accurate. | have previously addressed
the gaps and serious resource challenges-including human and financial resources, that confront
community mental health services in my 8-15 opinion.

(d) | would add the following comments regarding county/community mental health services
to my 8-15-08 report:

e Santa Clara and San Mateo’s reports as Intervener Counties clearly document both »
- the crisis in the availability of resources to treat their existing populations of seriously
mentally ill adults. Their reports make it clear that they cannot absorb new parolees—

Case 2:90-cv-00520-KJM-SCR Document 3232-3. Filed 10/30/08 Page 61 of 67

particularly seriously mentally ill parolees-without significant additional treatment and
supervision/custodial resources. It should be understood that Santa Clara and San
Mateo are widely recognized to be among the best funded and most comprehensive
county mental health services in the State—both in their historical State-and Federal
funding base, and as a result of these counties allocating discretionary county funds to
mental health and substance abuse services. Both counties also document their
efforts to reduce structural deficits that Include programs reductions or holding -
allocated positions vacant in mental health services.

e The majority of California’s other counties face even more severe under-funding of
mental health systems and do not have or have not chosen to provide discretionary
local dollars fo increase mental health services. As Medi-Cal providers, counties are
obligated to provide assessments and medically necessary treatment to all Medi-Cal
beneficiaries that meet diagnostic and functional impairment criteria. As indigent care
providers, counties are responsible for providing services to seriously mentally ill
adults—to the extent resources are available. | do not have data regarding the
numbers or percentage of CCCMH-and EOP parolees would be Medi-Call
beneficiaries under a Coleman release but it is reasonable to assume that there would
be a high percentage of these individuals who do not qualify for SSI-linked Medicaid.
It cannot be assumed that county mental health systems have the capacity to assume
a hew responsibility for parolees—particularly indigent parolees. In fact, there are
currently three counties: Riverside, Shasta and Glenn, that have provided
written notification to the State Department of Mental Health that they are
considering returning the Medi-Cal program to the State due to the lack of
sufficient local dollars to provide the required 50% match required to draw down
federal Medicaid (Realignment sales tax and vehicle license fees).

© In my opinion, a substantial Coleman class prisoner release would have-a substantial

negative impact on the conditions and treatment of these individuals when they re-
offend and re-arrested. These parolees are likely to be held in local jails because of a
State prison population cap system and lack of access to forensic state hospital beds.
Almost half of California counties’ correctional facilities are currently operating under
their own jail population caps. If current conditions remain constant, additional
numbers of seriously mentally ill parolees—even if they are eligible for admission to
state hospitals will be held in inadequate conditions and receive inadequate care in
local jails. DMH typically has a waiting list of over 300 local inmates who are pending
state hospital forensic commitments/placements as has been reported to the CMHDA
Forensic Committee by DMH administrators for at least the past three years. This is
yet another way that a poorly planned and implemented Coleman prisoner release will
simply transfer the problem of inadequate (and potentially unconstitutional) mental
health care from the State level to the local level.

e Inmy opinion, Drs. Gilligan and Stewart under-estimate the numbers of current
parolees as weil as the increased numbers of parolees who would require intensive
services under a Coleman release order. There is variation in cost across counties, but
it is reasonable to assume that effective EOP level “assertive community treatment” (or
as these programs are increasing called in California, “full service partnerships’) can
be estimated to cost an annual average of $15,000-$30,000 per individual. If one

Case 2:90-cv-00520-KJM-SCR —§ Document 3232-3. Filed 10/30/08 Page 62 of 67

estimates 506 new EOP parolees (per Gillian #54) with.a 30,000 prisoner release, it
will cost $8-16 million dollars in basic mental health treatment costs—excluding the
cost of hospitalization or local incarceration should that become necessary. This
‘estimate does ‘not include intensive services to the current parole population—a
population that is being significantly. “under-treated” and that has a higher recidivism
rate than the general parole population. This projection also does not take into
account the extent to which prisoners who are assessed as CCCMH and are treated in
the general prison population, will actually require more intensive follow-up due to
greater access to drugs of abuse and failure to follow through on psychiatric
medications, outpatient therapy and other conditions of parole. The UCLA Final
Report on the Mental Health Services Continuum Program of the California
Department of Corrections and Rehabilitation-Parole Division dated June 30, 2006
documents a significant rate of parolee failure to follow through on outpatient services
anda correlation between decreased CDCR-POC contacts and recidivism and re--
offense.

4, Additional recommendations to effectively and safely reduce the population
in California’s prisons including the plans described by CDCR, CSAC, CMHDA
and several legislative initiatives.

In my opinion, it is possible and critically important to plan and implement a responsible program of
community mental health treatment and support services that can effectively and safely meet the
needs of seriously mentally ill prisoners as they are released from Califomia’s correctional facilities.
However, | am concerned that the Plaintiff's expert witness reports either fail to understand or
minimize the need for an investment prior to the size of prisoner release that would be required to
reduce prison overcrowding in California.

| would urge the Courts and other parties to make a realistic assessment of what it would take to
bring effective services and programs on-line—and then identify financing and a timeline to
accomplish this task. | believe that significant progress has been made in settlement negotiations
in this proceeding—even though final agreement was not reached. Itis also important to-give
consideration to positive program developments including but not limited to:

e CDCR's AB 900 implementation plan(s);

e Legislative pilot programs suchas SB 618 (Speier) that plan and implement a continuity of
care and case management model that follows offenders through all levels of incarceration
and community release; and

¢ Pending legislation such as SB 1851 (Steinberg) that defines a community system of care
for seriously mentally ill parolees.(based on the lessons of the Mental Health Services Act;
Mentally iit Offender Crime Reduction grant programs and the AB 2034 Integrated
Services for Homeless Mentally Ill Persons) and AB 2541 (Bass) that promotes mental
health/behavioral health courts.

It is also critically important that we understand and.learn from past experience. California should

not and cannot afford to dump mentally ill prisoners into our communities without adequate care
and supervision, We've witnessed the consequences of the closure of state hospitals in the late

10

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 63 of 67

1960's through the 1970's when the promise was broken that dollars and services would follow
these vulnerable individuals into. the community. Any Court or State action to provide humane and
constitutional mental health: care in prisons, must include a commitment that appropriate care will
also be provided to criminal justice involved individuals in our communities. The destructive cycle
of criminalization of individtals with mental iliness must be broken--and we must keep that

promise.

(Il) the data or other information consiclered by the witness in forming
opinion; Include list of reports and references reviewed

--California Hospital Association's Center for Behavioral Health, Updated Report on Psychiatric
Bed Closures, June 25, 2008,

hito/www.calhealth,org/public/oress/Article/107/CBH PsycBedClosures.pdf

--CMHDA, 8/25 ‘conference: call communication with Patricia Ryan, Executive Director-CMHDA,
Don Kingdon, PhD, Assistant Director-CMHDA, Karen Baylor, PhD, San Luis Obisbo, Behavioral
Health Director and Co-Chair, CMHDA Forensic Committee and Nancy:Pena, PhD, President of
CMHDA and Mental Health:Director, Santa Clara County.
--CMHDA, 8/26 personal e mail communication from Pat Ryan, Executive Director of

CMHDA regarding county notification to State Department of Mental Health that 3
counties are considering “opting out” of the mental health Medi-Cal program.

1]

Case 2:90-cv-00520-KJM-SCR Document 3232-3 Filed 10/30/08 Page 64 of 67

EXHIBITO |

Case 2:90-cv-00520-KJM-SCR Document 3232-3

Filed 10/30/08

Page 65 of 67

Golden Gate Reporting
1 IN THE UNITED STATES DISTRICT COURTS
FOR THE EASTERN DISTRICT OF CALIFORNIA

2 AND THE NORTHERN DISTRICT OF CALIFORNIA

UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES :
3 PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

cae Ee
4
5 RALPH COLEMAN, et al.,
6 Plaintiffs,

Case No. Civ S 90-0520 LKK-JFM P

7 vs.

8 ARNOLD SCHWARZENEGGER, et al.,

23 REPORTED BY: Katy Leonard
Certified Shorthand Reporter
24 License Number 11599

CO1-1351 TEH |

RECEIVED

SEP 29 2008

Rosen, Bien & Galvan |

9 . Defendants.

10

MARCIANO PLATA, et al.,
11 Case No.

Plaintiffs,

12

vs.
13

ARNOLD SCHWARZENEGGER, et al.,
14 /

Defendants.
15
16
17 DEPOSITION OF GALE BATAILLE
18
19 DATE: September 16, 2008
20 TIME: 9:36 a.m.
21 LOCATION: ROSEN, BIEN & GALVAN, LLP
315 Montgomery Street,

22 San Francisco, California

415.499. ).DEPO ~ 866. 936. DEPO
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Tenth Floor
94104

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Filed 10/30/08 Page 66 of 67

Golden Gate Reporting
1 A. No. 1 wanted to make sure I've got it.
2 I said I had no reason to not believe his 2 Q. Yes.
3 statement. 3 A. Um, if you compare the general populations of
4 _ Q. If Task you to take that as an assumption 4 persons with mental illness with the general population,
5 now-- 5: um, they are no more dangerous. There are, however,
6 A. Mm-hm. 6 certain predictors where a subset of that mentally ill
7 Q. -- and that nothing is being done to keep that 7 population is more dangerous than the general
8 33 percent in when their release date comes, that 8 population, or can be more dangerous. But I've spent
9 they're simply released to the street in whatever state 9 many years citing those same reports in trying to locate
10 that they're in -- 10 community facilities.
11 A. Min-hm. ll Q. When you say you've "spent many years citing
12 Q. -- do you think that would have an -- 12 those same reports," what do you mean?
13 A. Because their sentence is up? 13 A. The basic research on violence and mental
14 Q. Their sentence is up. 14 illness, because -- so, I've looked at those reports,
15 A. So, the State couldn't do anything about 15 because I have had the experience of working in a number
16 keeping them. 16 of different communities to locate mental health
17 Q. No. 17 facilities,
18 ~ A. Okay. 18 Q. And what conclusion do you draw from the basic
19 Q. They just release them untreated. 19 research on mental illness and-violence?
20 ~~ A. Okay. 20 A. My conclusion -- and J believe this is what
21 Q. Is that, in your opinion, good for public 21 the research largely says. I mean, there's some nuances
22 safety? _ {22 init, but -- is that the general'population of mentally
23 MR. ANTONEN: Objection. Vague as to "good" |.23 _ ill folks is no more dangerous.
24 and "public safety." — 24 The predictors where there may be an increased
25 MR. GALVAN: Including safety. 25 risk has to do with past history of violence, has to do
Page 270 : Page 272
1 MR. ANTONEN: To the extent you can answer. 1 with substance use and abuse and medication compliance.
2 THE WITNESS: I believe that anyone who is 2 Those are the -- those are some of the main ones.
3 released into the community, whether they've gotten 3 And in those situations, particularly when
4 treatment or haven't gotten treatment, needs treatment 4 someone has a history of any kind of violence or is
5 when they get in the community. And we need to be sure | 5 using substances, there is a greater risk.
6 that that's available. 6 Q. Would you agree with the statement that
7 THE REPORTER: May we take a break so I can 7 putting people in prison for mental health treatment is
8 change my disc? 8 not effective?
9 It's full. 9 A. I don't think people are put in prison for
10 MR. GALVAN: Sure. 10 mental health treatment. I don't believe that's why
11 (Off the record from 5:46 p.m. , 11 anyone is committed to state prison. They're committed
12 until 5:50 p.m.) 12 to state prison because they've committed a crime;
13 MR. GALVAN: Okay. 13 right?
14 Back on the record. , | 14 Q. Right.
15 BY MR. GALVAN: S745 But would you agree with the statement that
16 Q. Is it correct to say that you don't agree with 16 putting people in prison for mental health treatment is
17 Dr. -- you don't disagree with Dr. Gilligan that persons 17 not effective?
18 with mental illness are not inherently more dangerous 18 A. I will state what I just said: I don't think
19 than other people? 19 anyone would put someone in prison to get them mental
20 A. Okay. 20 health treatment. That's not why people go to prison.
21 Let me reframe the -- rephrase the question. 21 Q. Did you review the documents in this case in
22 So, your question is, do I agree with 22 which the Department noted that it stopped returning
23 Dr. Gilligan that people with mental illness are no more | 23 people to prison solely for psychiatric treatment in
24 dangerous than the general population? 24 January, 2007?
25 You gave me a double negative, and I just 25 A. Mm-hm.
Page 271 Page 273

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“69 (Pages 270 to 973)

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1 CERTIFICATION OF DEPOSITION OFFICER
|

:

3 - I, KATY LEONARD, duly authorized to administer :
4 oaths pursuant to Section 2093 (b) of the California
5 Code of Civil Procedure, hereby certify that the

6 witness in the foregoing deposition was by me sworn to
7 testify to the truth, the whole truth and nothing but

8 the truth in the within-entitled cause; that said

9 deposition was taken at the time and place therein

A. OP OLIN

ESAT EE Ne ET REO

10 stated; that the testimony of the said witness was

11 thereafter transcribed by means of computer-aided

12 transcription; that the foregoing is a full, complete
13 and true record of said testimony; and that the witness
14 - was given an opportunity to read and correct said

15 deposition and to subscribe the same.

16 I further certify that I. am not of counsel or
17 attorney for either or any of the parties in the

18 foregoing deposition and caption named, or in any way
19 interested in the outcome of this cause named in said

20 . caption.

21 :
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23 \L
24 org C

7 f
25 KATY LEONARD, CSR 11599

Page 298 :

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